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F (Part 6) Pagei1of 71

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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Forward claim form and instructions for filing
same to Doreen Young via electronic mail.
Letter to Bankruptcy Court enclosing various
original proofs of claim for filing.

Continued creditor calls, emails regarding
claims, priority issues (3x).

Track claim received by Trustee from Muriel
Lugagne at Canoe.

Track new claims bar date issued by Bankruptcy
Court as a result of continued creditors’
meeting.

Creditor, counsel inquiries regarding claim,
priority issues.

Multiple calls, emails from claimants regarding
claim, priority, document issues.
Receipt/review of potential administrative
claim from Sun Media Corporation; letter to
Bankruptcy Court enclosing various proofs of
claim for filing.

Multiple inquiries from creditors, counsel
regarding claim, priority issues.

Letter to Bankruptcy Court enclosing various
proofs of claim for filing.

Update service list regarding Xtra Airways.
Address creditor message regarding change of
address.

Multiple emails with R. Bevins (Sky King)
regarding 341 Meeting.

Attention to various proofs of claims received
from creditors and Riemer & Braunstein; letter
to Bankruptcy Court enclosing same for filing.
Telephone call from creditor and forward proof
of claim form via electronic mail (Brian Ash).
Telephone call from Claudette Holbrook to
request that her proof of claim be withdrawn.
Telephone call from Norman Patterson to request
mailing address for proof of claim.

Telephone call from Sandra Metcalf to confirm
Bankruptcy Court’s receipt of her proof of
claim; review claims register to confirm same.
Review current service, pacer and ECF
recipients and attention to service list
updates.

Forward Brian Hall’s contact information to M.

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

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F (Part 6) Page 2of 71

Page378

Invoice Number ******

Chapter 7 Trustee

Perla at Niagara Frontier Transportation
Authority via electronic mail.

Review South Carolina Division of Unemployment
forms submitted by Controller.

Telephone call from Randy Sanborn regarding
procedure for submitting proof of claim.

Emails with counsel to Niagra Frontier
Transportation Authority regarding abandonment
of personal property and Bank's lien.

Telephone call from counsel to electric company
in South Carolina regarding service (.1);
memorandum to Trustee regarding same (.1).
Multiple calls from creditors regarding claims,
abandonment and administrative priority issues
(3x).

Telephone call from creditor (Sunovion) to
request mailing address for proof of claim.
Review electronic mail from counsel to South
Carolina electric company regarding shut off of
service; update service list.

Attention to Horry County Airport claim and
tracking relevant related materials.

Creditor inquiries regarding claim, priority
issues. (.3) and review related case materials
(.2).

Receipt of information regarding proof of claim
filed by Horry County Department of Airports
and track for amendment in connection with
bond. .

Emails with Vision Air representative regarding
claim.

Letter to Bankruptcy Court enclosing various
proofs of claim for filing; telephone call from
creditor for mailing for Bankruptcy Court for
claim.

Review South Carolina Department of Revenue
materials.

Letter to Bankruptcy Court enclosing various
proofs of claim.

Telephone call from J. Myint regarding possible
sale/auction of FAA records.

Telephone call from Sylvia Nitale regarding
mailing address of Bankruptcy Court for
submission of proof of claim.

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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F (Part 6) Page 3 of 71

Page379

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Telephone call from Rob Taylor and Bonnie
Taylor regarding filing of proof of claim;
attention to various proofs of claim forwarded
to trustee by creditors for filing.

Telephone call from Elizabeth Guzman regarding
procedure for filing claim.

Review numerous proof of claims received from
debtor's counsel to determine duplicative
claims; letter to Bankruptcy Court enclosing
same for filing; review claims register via
pacer regarding duplicates.

Attention to correspondence from Alabama
Department of Revenue; and correspondence from
Creditor regarding representation.

Telephone call from Janelle Schultz regarding
proof of claim.

Review open claim issues and materials and
related claimant inquiries regarding
priorities, process.

Forward copies of admin bar date order and
blank proof of claim form to Tom Lowe via
electronic mail.

Address administrative Proof of Claim request
from former employees (.1); email T. Lowe and
Trustee regarding same (.1).

Review open claim issues and priority,
resolution strategies.

Attention to update to service list regarding
Alabama Department of the Treasury.

Review and respond to email from T. Lowe
regarding post-conversion claims.

Review proofs of claim received from creditors
for duplicates; letter to Bankruptcy Court
enclosing claims for filing; telephone call
from Rod Trostle and Karen Durr regarding proof
of claim procedures.

Telephone call with Attorney Sawyer regarding
World Airlines and possible 2004 Exam (.2);
strategize with Trustee regarding production of
materials regarding same (.1); telephone call
to Attorney Sawyer regarding same (.1).
Telephone call from Todd Perkins regarding
proof of claim and forward blank claim form via
electronic mail.

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F (Part 6) Page 4of 71 Page380

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Joseph H. Baldiga, Chapter 7 Trustee

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(Southern Sky Air & Tours, LLC)

Calls and emails from numerous administrative
claimants, counsel regarding bar date, priority
and asset abandonment issues (3x).

Several inquiries from administrative claimants
(3x).

Request box inventory list in response to World
Airlines’ request (.1); reconsider providing
list in context of possible preference action
(.1).

Email box inventory list to Attorney Sawyer.
Track potential administrative claim of Palm
Beach County Airport and correspondence from
Attorney Kobert regarding same; attend to
additional claims received from various
creditors.

Review Pacer docket as to possible Chapter 11
administrative claims and report results;
review claims register as to number and amount
of claims filed to date.

Attention to various proofs of claims received
from creditors; letter to Bankruptcy Court
enclosing same for filing; telephone call from
J, Ethier regarding filing proof of claim.
Review Department of Transportation
administrative claim request.

Review open claim issues and resolution, review
strategies.

Search claims register for possible
administrative claims filed by post-petition
creditors; report results (.6); telephone call
from Elizabeth Guzman regarding procedure for
filing proof of claim (.1).

Review Court’s orders scheduling Chapter 11
administrative claim hearing, track hearing and
objection deadline, and email Trustee regarding
same (.2); review Riemer & Braunstein’s Chapter
11 administrative claim (.1); memorandum to
Trustee regarding same (.1); investigate
post-petition employee claims (.1).

Attention to proofs of claim received by
trustee, review claims register to determine if
any duplicative of claims filed with Bankruptcy
Court, letter to Bankruptcy Court enclosing
claims to be filed, report to trustee regarding

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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Joseph H. Baldiga,

F (Part 6) Page5of 71

Page381

Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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administrative claim asserted by Port Authority
of New York and New Jersey.

Review administrative claim issues and
materials and strategies for objections,
resolution (.4), and emails with Attorney
Handel (DOT) regarding same (.2).

Telephone call to and from Michael Handler at
Liquidity Solutions, Inc. in response to
request for estate information.

Begin review of administrative claims (.3) and
related emails to Attorneys Braunstein, Reier
(.2).

Creditor inquiries and review related priority,
administrative claim issues and materials (.6);
related emails with Attorneys Braunstein and
Handel (.3).

Follow up regarding Liquidity Solutions’
information request.

Continue review of administrative claim
materials and strategies regarding deferral,
objection (.7), related emails with Attorneys
Braunstein and Handel regarding same (.3),
formulate objection grounds and review
underlying claim materials regarding airport
claim (.3).

Review claims received from creditors to
determine if duplicative of claims already
filed with Bankruptcy Court; prepare
transmittal letter to Bankruptcy Court
enclosing claims for filing.

Telephone call from creditor regarding process
of filing proof of claim.

Review memos regarding Chapter 11
administrative claim status.

Telephone call with Attorney O'Neill (Myrtle
Beach Airport) regarding PFC charges (.1);
email Trustee regarding same (.1).

Emails with Attorney Braunstein re
administrative claim issues, continuance.
Attention to original claims received from
claimants and review claims register maintained
by Bankruptcy Court to determine if
duplicative; prepare transmittal letter to
Bankruptcy Court enclosing claims to be filed

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F (Part 6) Page 6 of 71

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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with Bankruptcy Court.

Begin joint motion to continue hearing
date/response deadline regarding DOT’s Chapter
11 administrative request.

Continue draft of joint motion to continue
hearing date/response deadline regarding DOT’s
Chapter 11 administrative request (1.0); review
and revise (.3); review revisions and confirm
service list (.5); review administrative
request of Riemer & Braunstein and begin draft
stipulation regarding allowance of Riemer &
Braunstein’s Chapter 11 administrative claim
and begin motion to approve same (1.0).
Complete draft of motion to approve stipulation
regarding Riemer & Braunstein Ch. 11
administrative claim and review and revise same
and corresponding stipulation.

Attention to claims received from creditors,
review claims register maintained by Bankruptcy
Court to determine if any are duplicative and
forward certain ones to Court for filing (.3);
electronic mail to Tom Lowe to explain claim
process (.2).

Review and address email from T. Lowe regarding
claims process.

Revise DOT joint motion regarding
administrative claim (.3); review issues for
R&B motion (.2).

Attention to service list updates; confirm bar
dates; receipt of POC from John Millane and
review claims register to determine if
duplicative; telephone call from Tabitha
Hairston regarding proof of claim.

Draft objection to administrative claim of Port
Authority of New York and New Jersey.

Forward draft joint motion regarding
continuance of hearing on DOT’s administrative
Claim to Andrea Handel via electronic mail.
Review and revise objection to administrative
claim of Port Authority of New York and New
Jersey; confirm service list.

Emails with Attorney Handel regarding DOT
claims, motion.

Receipt of signed motion to continue from

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F (Part6) Page 7 of 71 Page383

Invoice Number ******

MIRICK, O'CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

Attorney Andrea Handel; attention to revisions
to same and return to Attorney Handel via
electronic mail for signature; finalize for
efiling/service; update service list.
08/17/12 JHB 9290 Revise and finalize stipulation, approval 0.80 308.00
pleadings regarding R&B administrative claim
(.6), related emails with Attorneys Braunstein,
Reier (.2).
08/17/12 kmdellec 9290 Finalize joint stipulation and joint approval 0.50 90.00
: motion regarding Riemer & Braunstein
administrative request; forward to A.
Braunstein via electronic mail for
review/signature (.4); confirm receipt/filing
of proof of claim by Janeece Robertson (.1).

08/20/12 JHB 9290 Review, revise administrative claim objection 0.30 115.50
and review underlying claim materials.
08/20/12 kmdellec 9290 Receipt of order allowing motion to continue 0.10 18.00

response deadline/hearing regarding DOT's
. administrative claim and track same.
08/20/12 kmdellec 9290 Follow up with Attorney Braunstein via email 0.10 18.00
regarding status of joint motion to continue
response deadline/hearing on Riemer &
Braunstein’s administrative request.

08/20/12 goneil 9290 Review and track Court’s Order continuing 0.10 24.50
claims hearing.

08/21/12 JHB 9290 Multiple creditor inquiries regarding claim, 0.70 269.50
priority issues and abandonment consequences

: (3x).

08/21/12 kmdellec 9290 Finalize objection to claim of Port Authority 0.20 36.00
of New York and New Jersey for efiling.

08/22/12 JHB 9290 Review objection, hearing, reconciliation 1.20 462.00

issues and materials regarding claims (.6);
multiple creditor inquiries regarding claim,
priority issues (.6).
08/22/12 kmdellec 9290 Prepare certificate of service regarding 0.30 54.00
objection to claim and notice of hearing
regarding Port Authority of NY and NJ; finalize
for service.

08/22/12 goneil 9290 Assist with claim objection notice. 0.10 24.50
08/23/12 JHB 9290 Emails with Attorney Braunstein regarding 0.40 154.00
administrative claim stipulation (.2);

attention to other claims and devise
resolution, objection strategies (.2).
08/23/12 kmdellec 9290 Electronic mail to A. Braunstein regarding 0.50 90.00
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F (Part 6) Page 8 of 71 page3a4

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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status of joint motion to approve/continue;
revise joint motion to include additional
language requested by Attorney Braunstein.
Assess Trustee’s agreement with Riemer &
Braunstein regarding retainer, in context of
likely preference action, and make
recommendation regarding same.

Review R&B potential preference issues and
revise R&B administrative claim stipulation and
motion.

Attention to additional revisions to joint
motion regarding Riemer & Braunstein
administrative request.

Telephone call from Thomas Erskine to request
copies of blank claim form; letter to T.
Erskine regarding same.

Emails with Attorney Braunstein regarding
additional changes to administrative claim
agreement, motion (.3), review revisions to
same (.2).

Review additional revisions to approval motion
regarding Riemer & Braunstein’s administrative
claim; finalize for efiling and service.

Track order regarding Riemer & Braunstein
administrative claim.

Attention to proofs of claim received from
various creditors; review claim register to
confirm whether any are duplicates; letter to
Bankruptcy Court enclosing those to be filed.
Attention to returned mail with respect to
claim objection,

Attention to claims received from creditors and
review claims register to determine if
duplicative.

Claim inquiries, analysis regarding priority
issues and review allowance, analysis
parameters.

Track withdrawal of claim by Edwin Langs;
telephone call from creditor to request address
for proof of claim ("Mark") .

Telephone call from Valerie Murray regarding
process for filing proof of claims; forward
blank claim form and directions for same via
electronic mail.

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F (Part 6) Page 9 of 71

Page385

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Review and address newly docketed "document"
withdrawing claim.

Telephone call from Mary Clerk regarding claim
deadline/mailing address; letter to Bankruptcy
Court enclosing original claims for filing;
confirm claims register as to duplicates, if
any.

Telephone calls from Dawn Grasso and Tabitha
Hairston regarding address for proof of claim
and to confirm filing deadline.

Telephone call from Nicole Cristoff regarding
status of proof of claim.

Assess open claim issues, parameters for review
and resolution.

Telephone call from creditor Bonnie Taylor
regarding possible distribution. :
Telephone call from Rick at The Franklin Press
to request removal from service list; review
debtor’s Schedule F regarding same.

Draft and review/revise report and hearing
agenda regarding objection to claim of the Port
Authority of New York and New Jersey.
Investigate total number of Consumer Schedule F
ereditors in connection with Motions to Limit
Notice and representations in pleadings.

Review generally proofs of claim as filed,
including to identify new non-consumer claims.
Claimant inquiries regarding claim, priority
and allowance issues (2x).

Telephone call from Joyce Peregrini regarding
status of claims.

Review newly-filed claims.

Continued attention to claim inquiries,
allowance and priority issues.

Telephone call from J. Loranger to request
claim filing information and forward claim form
to same via electronic mail; telephone call
from Amy Lane regarding proof of claim filing
procedure and forward claim form and
instructions to same via electronic mail;
telephone call to Melinda Schultz in response
to inquiry regarding claim filing procedure and
prepare letter to same enclosing claim form.
Attend to service issues regarding Franklin

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F (Part 6) Page 10 of 71 page386

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MIRICK, O’ CONNELL

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Press; memos regarding same,

Multiple claim inquiries regarding priority,
allowance issues (3x) (.4); review parameters
regarding same (.2).

Review claims.

Telephone call and follow up email with
representative of Montreal Gazette regarding
pleadings received.

Multiple creditor inquiries and responses
regarding claim priority, allowance issues.
Telephone call from Jeanine Ethier regarding
status of claim; telephone call from Paula
Conologe regarding status of claim.

Continued inquiries from creditors’ counsel
regarding claim issues.

Telephone call from Roy Montgomery regarding
status of claim.

Review and revise report and agenda for
administrative claim objection.

Review pacer docket with respect to response
deadline for objection to claim of Port
Authority of New York and New Jersey; review
service list and finalize all for trustee’s
review.

Attend to returned mail.

Multiple claimant, counsel inquiries regarding
priorities, allowance.

Finalize report and hearing agenda for efiling;
update control sheet and track hearing date.
Review status of Port Authority of NY/NJ claim
objection, in context of pending preference
demand.

Call, emails with creditor group regarding
distribution, priority issues.

Call, emails with Mr. Klugh regarding case
issues (.2); review open claim issues and
parameters (.2).

Track order allowing objection to claim of Port
Authority of New York and New Jersey;
organization of administrative claims.
Receipt/review of original proofs of claim;
letter to Bankruptcy Court enclosing same for
filing. |

Multiple inquiries from creditors regarding

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F (Part 6) Page 11 of 71 page387

Invoice Number ******

MIRICK, O’ CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee /
14190 Direct Air (Southern Sky Air & Tours, LLC)

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priority, allowance, extension and bond issues.
Lengthy call with Mr. Klugh regarding case
issues, creditor deadlines and notice of same.
Review claims register/docket report to
determine if claim filed by Arrow Energy or
Aviation Fuel International; report results.
Telephone call from Chris Gallup regarding
status of proof of claim.

Review memos regarding Platte River’s
production of claimant information and provide
input regarding formatting of same.

Review claims register generated by Bankruptcy
Court; attention to printing issues with
respect to same.

Telephone call from Janet McElroy regarding
status of claim.

Review email from counsel to Platte River with
claims spreadsheet.

Review bond claim materials and issues,
strategies for assessment.

Organize correspondence from B. Carver
regarding claim information from Platte River,
including spreadsheet; calendar for receipt of
CD containing claim copies.

Creditor inquiries regarding claim, priority
issues,

Review additional claim materials and
strategies to address priority, resolution.
Review open claim, lien/priority materials and
issues.

Review parameters, strategies regarding claim
review and resolution (.6) and related emails
with Attorney Carver, McGee, Gurfein and Reier
(.4).

Track order entered regarding motion to approve
administrative claim of Riemer & Braunstein.
Telephone call from Rebecca Sewell to request
information regarding filing procedure for
claims; forward claim form and instructions via
electronic mail.

Continued emails with group counsel devise
strategies regarding claim review.

Organize administrative claim sub folder.
Further emails with group counsel (.3),

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F (Part 6) Page 12 of 71 page338

Invoice Number ******

MIRICK, O’ CONNELL
15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

additional review of bond, charter claim
materials (.4) regarding resolution strategies.

10/22/12 goneil 9290 Review emails regarding procedures for 0.10 24.50
addressing AMEX cardholder claims.

10/23/12 JHB 9290 Further emails, claim review regarding 0.30 115.50
resolution parameters, strategies.

10/23/12 kmdellec 9290 Address issues involving creation of master 0.40 72.00

datatable for claims and obtaining copies of
all claims filed with Bankruptcy Court.
10/24/12 JHB 9290 Emails with counsel group regarding chargeback 0.50 192.50
information (.2); continued attention to bond,
estate claims and strategies for review,
resolution (.3).

10/24/12 kmdellec 9290 Strategy regarding process/format of tracking 0.20 36.00
Claims filed with Bankruptcy Court.
10/25/12 JHB 9290 Continued emails with Attorneys Carver, 0.70 269.50

Gurfein regarding claim issues (.4), strategies
for review (.3).

10/25/12 kmdellec 9290 Telephone call from Todd Laporte regarding 0.10 18.00
status of claims.

10/29/12 kmdellec 9290 Telephone call from Mr. Zupo regarding status 0.10 18.00
of claim.

10/30/12 JHB 9290 Creditor inquires regarding priority, 0.30 115.50
distribution issues.

10/30/12 kmdellec 9290 Begin review of materials/pleadings regarding 0.80 144,00

bond claims, credit card claims to determine
format of spreadsheet to track claims asserted

and paid.

10/31/12 JHB 9290 Inquiries from bond, PFC creditors regarding 0.50 192.50
priority, distribution issues (3x).

11/02/12 JHB 9290 Receive and review bond claim materials and 1.20 462.00

related emails with Platte River counsel (.6);
meet with K. Dellechiaie to review claim
review, resolution parameters and strategies
and review additional claim materials (.6).

11/05/12 JHB 9290 Continued review of claim issues and materials. 0.40 154.00

11/05/12 kmdellec 9290 Telephone calls from Bernard Gugnet and Kristin 0.10 18.00
Gallagher regarding status of claims.

11/08/12 JHB 9290 Emails with group counsel regarding chargeback 0.20 77.00
claim information, analysis.

11/08/12 kmdellec 9290 Attention to status of master claims 0.70 126.00

spreadsheet and attention to questions
regarding same.
11/09/12 JHB 9290 Review open claim matters, and related emails 0.40 154.00
Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit
F (Part 6) Page 13 of 71 Page389

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

with group counsel regarding reconciliation
information and issues.

Review status/draft spreadsheet of claims filed
with Bankruptcy Court and begin review of
agreements regarding
distribution/categories/payments of claims.
Review memoranda regarding JetPay’s access to
customer information.

Review memorandum regarding Sky King activity
(.1) and provide related information regarding
insiders (.1) and possible valuation of claims
{.4).

Telephone call from J. Messerlian and J.
Millane regarding status of proofs of claim.
Review claim issues and strategies to resolve
and reconcile chargeback and. bond claims.
Receipt/track withdrawal of claim no. 1877 by
Springfield Airport Authority.

Telephone call from Bonnie Taylor regarding
status of claim.

Multiple creditor inquiries regarding claim,
priority issues.

Telephone call from bond claimant Edwin Miller
regarding status of claim.

Electronic mail from Pat Framke regarding
additional claim information.

Telephone call from Joyce Lonergan regarding
status of claim.

Emails with Attorney Gurfein regarding claim
issues, subpoenas, and review related VNB
materials regarding same.

Review additional materials regarding bond,
card claims and strategies for reconciliation.
Telephone calls from Doug Patterson, Alison
Olson and Pamela regarding status of claims.
Creditor inquiries regarding PFC, wage claims
and priority issues (3x) (.4), analysis
regarding same (.2).

Telephone calls from creditors regarding status
of distribution.

Emails with Attorneys Garfein, Brock and Reier
regarding claim reconciliation, subpoena issues
and strategies.

Track withdrawal of claim by B. Klobnak;

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F (Part 6) Page 14 of 71

Page390

Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

telephone calls from Layden Guerrero (x2)
regarding deadline to file claims and forward
claim form via electronic mail.

Review open claim priority, reconciliation and
notice issues and strategies.

Telephone call from Chris Hayes regarding
status of claim; telephone call from Chris at
Sterling Village regarding status of claim.
Telephone call from S. Feldman regarding proof
of claim process.

Additional review of claims information
received from counsel to Merrick, stipulation
regarding turnover by VNB and CDs received from
Capitol Insurance Company; review strategy
regarding procedure to track claims.

Multiple creditor inquiries regarding claim,
priority issues (3x).

Telephone call from Robert Torre regarding
status of claim.

Review completed master datatable for claims
filed with Bankruptcy Court, claims register
and spot check miscellaneous claims filed.
Telephone call from Allison Olson regarding
status of distribution.

Telephone call from Jeff Benoit regarding
status of claim.

Conference with K. DelleChiaie regarding claim
review issues and parameters, review related
claim materials, bond, VNB and credit card
issues and information requirements.
Telephone call from Janet Davis regarding
status of distribution.

Receipt/review of two additional claims from
Pat Framke at Capitol Insurance Company via
electronic mail and track same.

Track withdrawal of claim by Judith Landry.
Telephone calls from Lisa Cantara and Susan
Casey regarding status of claims.

Telephone calls from Jennifer Sprague, Connie
Orlando and Amanda Kesterson regarding status
of claims/distribution; confirm contact
information for all on master spreadsheet.
Telephone calls from Beth White and Brenda
Ripple regarding status of proof of claims;

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F (Part 6) Page 15 of 71

Page391

Invoice Number ******

Joseph’ H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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electronic mail from Pat Framke at Platte River
Insurance with updated contact information
regarding proof of claim and track same.
Review open claim, reconciliation issues,
information gaps from card companies and bond
insurer, steps to address.

Review exchange of electronic mails between
trustee and D. Gurfein regarding subpoenas for
claim reconciliation; calendar ahead.
Telephone call from Angela Clinton and Nicole
Croteau regarding status of proof of claim.
Telephone calls from Rene Potwin, Hilda Six,
Tracy Desmond and Nikko Zuppo regarding status
of proof of claim.

Telephone call from Todd Laporte regarding
status of claim.

Telephone call from Glenda Lambert regarding
status of proof of claim.

Receipt/track additional claim from Pat Framke
at Platte River Insurance; receipt/track change
of address for claimant from Pat Framke.
Review memoranda regarding claim
reconciliation.

Telephone call from Janet McIlroy regarding
status of claim distribution.

Telephone calls from numerous creditors
regarding status of claim distribution
(Elizabeth Guzman, Mary Gentry, Terry O'Hare,
Glenda Lambott, Jeff Misner, Janina Mozer, Pat
McNamara, Linda Hapach, Laurie Nixon, Nancy
Golden, Linda Darling, Joyce Peregini).
Follow-up regarding claims review project.
Telephone call from Jeff Meissner to confirm
Platte River claim number.

Follow-up regarding document copies.

Telephone call from Mary Huff regarding status
of claim; telephone call from Steve Holmi
regarding status of claim.

Strategies, document review regarding claim
review and distribution issues.

Emails with Attorney Carver regarding bond
claim issues.

Telephone call from Lyndon Johnston regarding
status of proof of claim.

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F (Part 6) Page 16 of 71 page392

Invoice Number ******

MIRICK, O’ CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

01/25/13 goneil 9290 Review memorandum from Trustee regarding claims .10 24.
analysis.

01/26/13 JHB 9290 Further analysis and strategies regarding claim .30 115.
review.

01/28/13 kmdellec 9290 Forward proof of claim spreadsheet via email to .30 54,
Greg Haworth at Duane Morris; receipt of name
change information from Pat Franke at Platte
River and track same.

01/28/13 goneil 9290 Review status of claims projects. .10 24.

01/29/13 JHB 9290 Emails with Attorneys Gurfein, Brock regarding .50 192
claim analysis, chart (.2), review related
reconciliation issues and materials (.3).

01/29/13 kmdellec 9290 Telephone calls from creditors regarding status 20 36.
of claims (Jessica Cox, Mike Rockwell, Allison
Evans) .

01/30/13 kmdellec 9290 Continue review of claim information and .30 414,

agreements; begin review of claim information
provided by Platte River Insurance and develop
strategy for tracking all claims filed.
01/30/13 goneil 9290 Plan for claims review projects. -10 24.
01/31/13 JHB 9290 Review claim chart and related materials and .60 231.
next steps regarding reconciliation.
92/01/13 JHB 9290 Continue review of claim issues and resolution .30 115.
strategies.

92/04/13 goneil 9290 Review status of claims projects. .10 24,

92/05/13 kmdellec 9290 Track receipt of payment for copying charges 10 18.
from Chartis in connection with future fee
application.

32/05/13 goneil 9290 Confirm receipt of Springfield Airport .10 24.
Authority Proof of Claim and compare same to
Stipulation terms.

92/05/13 goneil 9290 Confirm receipt of Springfield Airport .10 24.
Authority Proof of Claim and compare same to
Stipulation terms.

32/07/13 kmdellec 9290 Telephone calls from Kaitlyn Groeger, Sally -20 36.
Morgan and Andrew Meyer regarding status of
claims.

2/08/13 kmdellec 9290 Review various memos from P. Framke regarding .30 54.
amended claims filed with Platte River.

)2/12/13 goneil 9290 Prepare for meeting with Trustee regarding .10 24,
claims review strategy.

32/19/13 kmdellec 9290 Telephone call from Matt Farnsworth regarding .10 18.

status of claim.
32/20/13 kmdellec 9290 Telephone call to Rose Finlay in response to .20 216.

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Joseph H. Baldiga,

F (Part 6) Page 17 of 71

Page393

Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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claim inquiry and forward claim form via
electronic mail (.2); telephone call from Ss.
Ankrom, K. Wilson and T. Mannix regarding claim
status (.2); additional review of claim
information in preparation of claim review and
develop strategy regarding same (.8).

Review list of American Express credit charge
backs provided by Attorney McGee; coordinate
best way to track charge backs against master
claim datatable,

Review memorandum regarding materials for claim
review.

Receipt of claim from Christine Hamer and
confirm included in claims received from Platte
River.

Telephone call from Walter Vanderhoff regarding
status of distribution.

Telephone call from Leyden Guerro regarding
claim status.

Review open claim issues, strategies for review
and resolution,

Meet with trustee to discuss strategy regarding
claim reconciliation process.

Continued attention to claim reconciliation
information parameters and gaps.

Further discussion regarding claim
reconciliation process (.2); review all claim
information to determine information needed for
reconciliation process that is still
outstanding and strategy for tracking
information and subpoenas (5.0); telephone
calls from Jana Owens and Diane McCarthy
regarding claim status (.2); telephone call to
P. Framke at Capitol Insurance to request copy
of excel spreadsheet regarding bond claims
(.1).

Review/organize additional claim information
received in connection with bond claims; review
all correspondence, including electronic mails,
in connection with claim reconciliation (2.6);
review all and settlement agreements and
prepare for meeting with trustee regarding
claims (1.3); locate addresses on-line
regarding credit card companies for subpoenas

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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Joseph H. Baldiga,

F (Part 6) Page 18 of 71

Page394

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Chapter 7 Trustee

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(.4).

Review previous motion for relief filed by Jet
Pay and approval motions regarding VNB escrow
account and Platte River bond claims; draft
motion for supplemental 2004 examinations with
exhibit and certificate of service; on-line
search for addresses of credit card companies;
review and revise all (x2). .
Telephone call from creditor (Nicole) regarding

status of claim distribution (.1); review discs ©

provided by Platte River Insurance as to
asserted bond claims to determine format and to
confirm Platte River’s summary of same (1.6).
Assist with developing strategy for claims
analysis.

Further analysis, strategies regarding claim
assessment and allowance.

Review progress of master claim data table and
integration of VNB claims, bond claims and
bankruptcy court claims; discuss
strategy/process regarding potential for
Manipulating information in data table and
tracking objectionable claims; initial review
of data table regarding AMEX charge backs and
search function. /

Begin reviewing and updating claims data table
as to amended/additional bond claims received
from Platte River and miscellaneous
correspondence from claimants as to amended
claims/contact information; electronic mails to
certain claimants to confirm.

Lengthy meeting with team, review of documents
and issues and formulate reconciliation
parameters for claims.

Meet with trustee/team regarding claim
reconciliation process (.4); review file
information/correspondence and organize same as
to amended claims/updated contact information
and update data table accordingly (2.5).
Prepare for meeting with Trustee (.2); meet
with Trustee and team regarding global claims
review project (.7).

Attention to revisions of G. Barbieri to
supplement to 2004 Motion (1.1); discussion

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F (Part 6) Page 19 of 71

Page395

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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regarding formatting issues and potential
queries in connection with claims data table
(.4).

Review and revise draft Supplement Motion to
Conduct Rule 2004 Exams.

Further review, analysis regarding claim
parameters.

Continued attention to claim review and
reconciliation project.

Electronic mail to K. McGee to request
clarification of information provided regarding
AMEX chargebacks and discussion with trustee
regarding bond claim contained on discs and
preliminary review of same (.5); electronic
mail to two claimants to confirm contact
information and review AMEX spreadsheet in
context of K. McGee’s response and search for
duplicative claims (.5); review VNB settlement
agreement and spreadsheet containing list of
Charter participants (1.2).

Review memoranda with VISA regarding subpoena
address.

Review revised Supplemental Motion to Conduct
Rule 2004 examinations, and make addition edits
(.7); consider notice to not-yet-identified
Banks and draft Motion to Limit Notice in order
to address same (.6).

Finalize Rule 2004 Motion and Motion to Limit
Notice for Trustee’s review.

Continued attention to claim review issues and
parameters.

Assist with finalization and service of Motion
for Supplemental 2004 Examinations (.5); track
orders regarding requests for expedited
determination and limitation of notice (.1).
Electronic mail from K. McGee regarding
American Express information for charge backs.
Implement Trustee’s suggested edits into Rule
2004 Motion (.1) and Motion to Limit Notice
(.1); finalize Rule 2004 Motion package,
execute, and file same (.2); review Court’s
Order denying expedited determination (.1).
Continued attention to claim reconciliation,
review court’s orders regarding supplemental

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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F (Part 6) Page 20 of 71

Page396

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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2004 motion,

Review Court’s Order regarding notification to
credit card and debt card issuing. banks.

Review memoranda regarding AMEX chargebacks.
Telephone calls from Dolores Gehlaus and Edward
Cunniff to provide current contact information;
review bond claim spreadsheet and compare
certain entities to discs provided by Platte
River; electronic mail to P. Framke to request
clarification of bond claim spreadsheet;
electronic mails to numerous bond claim
creditors to request current mailing address in
order to include on claims datatable for future
mailings/distributions.

Review memoranda regarding AMEX chargebacks v.
rebills.

Continued attention to bond/VNB claim review
issues and parameters and next steps.
Additional electronic mails to numerous bond
claimants to request current mailing address in
order to include on claims datatable for future
mailings/distributions; receipt of responses
from bond claimants with current mailing
addresses and update data base accordingly.
Continued attention to claim review and
reconciliation issues and process, related
discovery needs.

Discuss and review disks containing bond claims
with systems department to determine best
application to be used for reviewing same
(1.5); electronic mail to claimant (R. Fortner)
in responsé to inquiry (.1).

Review memoranda with Platte River
representative regarding claim information.
Meet with K. DelleChiaie to review claim data
table, bond and VNB claim issues and materials
and related reconciliation strategies.

Discuss status of claim review with trustee and
steps to move forward; telephone call to P.
Framke at Capital Insurance Companies for
clarification of bond claim spreadsheet;
electronic mail to G. Haworth to confirm VNB
claimant list and review of same.

Telephone calls from Andrea Schmidbauer, Beth

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F (Part 6) Page 21 of 71

Joseph H. Baldiga, Chapter 7 Trustee
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(Southern Sky Air & Tours, LLC)

Ware, Jessica and Michael Lamons regarding
status of claims/distribution and confirm
current contact information on datatable;
respond via email to several inquiries
regarding claim status.

Page397

Further review of VNB, bond claim materials and

reconciliation issues.

Review list of Amex chargebacks and list of VNB

claims, notices issued by DOT to claimants and
VNB settlement agreement.

Consider next steps in claims project.
Continued attention to claim reconciliation
issues and strategies and review of related
materials from VNB. ‘

Track responses from bond claimants regarding
current contact information (.7); telephone
call from P. Framke regarding process used to
create bond claim spreadsheet (.2); follow up
emails to bond claimants to request current
mailing address (.5); identify number of bond

claimants missing amount of claim and telephone

call to P. Framke to request confirmation of
whether or not claim amounts were asserted and
coordinate creation of list of claims with
missing amounts and review/revise same (2.3).
Review emails regarding Valley National Bank
customer claims.

Telephone call from M. Fioroni regarding claim

of M. Brumley; review original and revised list

of VNB passenger claims provided by G. Haworth
and electronic mail to G. Haworth regarding
questions about revised list; attention to
responses from claimants/service list updates;

review response/revised list of VNB claims from
G. Haworth and incorporate additional claimants

that paid by cash to master data base; review
list of claims with missing claim amounts and
forward to P. Framke at Capitol Insurance for
research; discuss bond/VNB claim strategy with
trustee.

Continued attention to claim reconciliation
issues and strategies including incomplete
information regarding bond, VNB claims.

Review additional bond claim

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F (Part 6) Page 22 of 71

Page398

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee

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(Southern Sky Air & Tours, LLC)

information/supporting documents from Platte
River to determine amounts asserted by certain
claimants, claim numbers never assigned by
Platte River and additional contact
information.

‘Review memoranda regarding claims

identification; assist with strategy for next
steps.

Multiple emails with VNB counsel regarding
claim reconciliation issues (.3); continued
attention to claim issues and strategies (.3).
Review electronic mail from G. Haworth
regarding VNB claim information (.3); telephone
calls from Loretta Mombrea, Jessica Buczkowski,
Anne Rodie, Noreen Mullen and Jeff Benoit (.4);
determine mailing address for Michael
Addorisio, Fran Latorre, Julie Terstriep (.4);
attention to additional claim supporting
documents received from Platte River for review
to determine claim amounts asserted (3.4).
Review emails regarding reconciliation of bond
claims.

Emails with Attorney Haworth, Ms. Franke and
review revised claim materials from Platte
River, NVB.

Telephone call from claimant (Denise Tuggle)
regarding status of claim (.1); attention to
electronic mails (42) from P. Framke at Platte
River to include additional supporting
information for claims that did not assert an
amount (.5).

Multiple claimant inquiries regarding claim,
distribution issues (3x).

Attention to additional supporting documents
received from P. Framke at Platte River and
update missing claim amounts on database;
telephone call from Debra Spinner regarding
claim status.

Review additional claim information: from Platte
River as to asserted claim amount and track
same on database.

Claimant inquiries and issues regarding claim
reconciliation,

Review of additional supporting documents from

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

F (Part 6) Page 23 of 71

Page399

Invoice Number ******

Chapter 7 Trustee

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Platte River to determine asserted claim
amounts of certain bond claims (3.6); attention
to additional electronic mails (x44) received
from Platte River via electronic mail (.8).
Attention to additional claim information
received by Platte River Insurance in
connection with claims asserted with no claim
amount.

Draft subpoenas including Schedule A, to Visa,
Mastercard and Discover in connection with 2004
Motion; draft cover letter for each entity
enclosing subpoena and background information
regarding bankruptcy case; review and revise
cover letter; attention to spreadsheet to be
enclosure for each containing bank
identification numbers for
Visa/Mastercard/Discover.

Multiple emails with Attorneys Reier, Brock
regarding claim issues (.3), review parameters
and reconciliation issues (.3).

Additional revisions to subpoena to Visa and
transmittal letter enclosing same; review
spreadsheets containing bank identification
numbers to be attached to subpoena (.7);
attention to receipt of additional claim
information from Platte River (1.5).

Review memorandum regarding makeup of
consumers’ claims.

Review electronic mails between trustee and D.
Reir regarding treatment of VNB claims (.3);
review additional claim information received
from Platte River as to claims asserted without
claim amounts (1.4).

Claimant issues and inquiries, related emails
with Attorney Reier.

Attention to electronic mails (x45) from Platte
River containing additional claim information
and forward same to assistant for tracking
purposes; check status of remaining claims to
be forwarded from Platte River.

Review master datatable as to non-consumer
claimants, revisions to datatable as to names
of claimants and addresses on claims.
Continued attention to claim reconciliation

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

F (Part 6) _ Page 24 of 71 page40o

Invoice Number ******

Chapter 7 Trustee

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05/02/13 kmdellec 9290

issues and strategies.

Attention to additional claims received from 0.60
Platte River and forward via electronic mail

for tracking purposes.

Continued attention to claim reconciliation 0.40
issues and strategies and calls and emails with
claimants.

Quantify number and amounts of total claims 1.80
asserted via Bankruptcy Court, Platte River

bond claims and VNB claims in preparation of

conference with trustee (.6); telephone call

with trustee, G. Barbieri and D. Reier

regarding claim review process (.5); receipt of
additional claim information from Platte River

and forward to assistant via electronic mail

for tracking purposes (.6); track email from K.

Foley to creditor regarding bar date questions

(.1).

Review master datatable to confirm all claims 2.10
asserted by consumers and request copies of

non-consumer claims from P. Framke at Platte

River via electronic mail (.7); attention to

additional claims filed with Bankruptcy Court

and update master datatable accordingly (.2);

review master datatable to identify

non-consumer claims and quantify estimated

amount of same (1.2). .

Continued attention to claim review and 0.70
reconciliation issues and materials (.4),

related objection review and response

strategies (.3).

Review remaining claim materials from Platte 2.40
River as to claims asserted with no amount,

update datatable accordingly and determine

remaining number of claims without asserted

claim amount; telephone call from Mary Huff to

provide current address.

Review datatable as to claims asserted vs. 2.40
Platte River bond to determine approximate

number and aggregate amount of claims that

asserted duplicative claims against Valley

National Bank and the Bankruptcy Court (2.2);

telephone call from Todd LaPorte regarding

status of distribution and to confirm contact

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MIRICK, O’ CONNELL

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F (Part 6) Page 25 of 71

Page401

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC) ‘

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information (.1); telephone call to case
administrator to request status of order on
2004 motion (.1).

Telephone call from R. Montgomery regarding
status of claim.

Additional review of claims filed by consumers
with Bankruptcy Court to confirm no
non-consumers included.

Continue review of claim reconciliation issues
and materials and devise next steps (.7),
related conference call with Attorney Reier
(.5).

Telephone conference with D. Reier, G. Barbieri
and trustee regarding claims asserted vs.
bankruptcy estate, VNB and Platte River, and
quantifying same in connection with response to
objections filed to VNB settlement (.8);
further review of consumer claims filed with
Bankruptcy Court to confirm aggregate amount of
same (1.5).

Review memoranda regarding claims analysis
(.1); confer with Trustee and team regarding
strategies for claim review, comparison, and
distribution (.6).

Track electronic mail from D. Reier to Trustee
regarding claim reconciliation process and
discuss same with Trustee,

Review additional electronic mails between
Trustee and D. Reier regarding claim
reconciliation process.

Complete review of consumer vs. non-consumer
claims filed with Bankruptcy Court and quantify
same in connection with response to be filed in
connection with VNB agreement.

Review additional claim materials and
reconciliation issues and strategies, related
email to Attorney Reier.

Spot check certain claims filed with Bankruptcy
Court to confirm amount of consumer claims
filed with Bankruptcy Court; report results
(1.5); telephone call from Kay Fritsch
regarding status of claim (.1).

Continued attention to claim reconciliation
issues and options and related call with

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‘Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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F (Part 6) Page 26 of 71

Page402

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee.
Direct Air (Southern Sky Air & Tours, LLC)

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Attorney Brock, Gurfein.

Confer with Trustee about alternative method of
assessing claims and consider issues related
thereto.

Telephone calls from Lisa Cantara, Kristen
Perrault and Jennifer Sprague (.2); discuss
direction of claim reconciliation process with
trustee (.2); review data base to confirm
process for additional review (.8).

Continued attention to claim issues and
reconciliation parameters, next steps (.4);
review and revise proposed response to
objections (.3).

Telephone call from Nancy Golden regarding
status of claim (.1); assist with questions
regarding clean-up of database as to tracking
of wage priority/secured/consumer claims (.4).
Review alternatives for claim review and
reconciliation, and related emails with
Attorneys Gurfein, Brock.

Review claims filed with Bankruptcy Court to
confirm name of creditor and amount/priority

asserted; track correspondence from trustee to

D. Reier regarding claim reconciliation and
motion/claim form.

Review memorandum from Trustee summarizing new
proposed claims review process (.1).

Review. claim reconciliation process, identify
those claims to be flagged for possible further
review; determine parameters for reviewing
claims above a certain amount and identify
non-consumer claims (i.e. secured, general
unsecured and wage/tax priority claims);
continue review/comparison of claims filed with
Bankruptcy Court to database entries.-

Continue review/comparison of bankruptcy claims
to master datatable to identify claims for
possible further review, as well as
non-consumer claims (i.e., secured, general
unsecured and wage/tax priority claims).
Further analysis regarding claim review and
reconciliation, related priority issues.
Continue review/comparison of bankruptcy claims
to master datatable to identify claims for

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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F (Part 6) Page 27 of 71

Page403

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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possible further review, as well as
non-consumer claims (i.e., secured, general
unsecured and wage/tax priority claims).
Discuss with trustee parameters for motion for
approval of claim reconciliation process (.3);
begin draft of form to be sent to creditors
regarding claims asserted (.5); continue
review/comparison of claims filed with
Bankruptcy Court to master datatable to
identify non-consumer claims (i.e. secured,
general unsecured and priority wage or tax
claims ) (3.5).

Continue review of claims filed with Bankruptcy
Court.

Further analysis, strategies regarding claim
reconciliation process, VNB hearing on 6/5.
Continue review of bankruptcy claims.
Strategize regarding claims issues and Motion
to Pay on a consolidated basis.

Telephone call from Jeannie Barrett regarding
status of claim.

Continue to review Bankruptcy Court claims to
track claims asserted by non-consumer
claimants.

Continued attention to claim reconciliation
procedures and strategies.

Discuss format/requirements of motion to
approve claim reconciliation process and form
to be sent to consumer claimants with trustee
and G. Barbieri (.8); additional review of
bankruptcy claims (2.2).

Strategize regarding preparation of Motion and
Notice to streamline claims process.

Continued attention to claim analysis and
resolution, including call from claimant.
Telephone call from Elizabeth Guzman regarding
status of claim/distribution (.1); continued
review of claims filed with Bankruptcy Court
(2.3).

Review and revised proposed form to be
submitted to Bankruptcy Court for approval and
to be sent to all consumers (.6); continue
draft of motion to approve claim reconciliation
process (2.5).

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Joseph H. Baldiga,

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F (Part 6) Page 28 of 71

Page404

Invoice Number ******

Chapter 7 Trustee

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Continue draft of motion to approve claim
reconciliation process and revisions to same.
Continued review of claims filed with
Bankruptcy Court and update data base
accordingly.

Additional review and revisions to motion
regarding claim reconciliation process and
proposed claim form for Charter participants.
Continued review of claims filed with
Bankruptcy Court and updates to database.
Assist with Claim Reconciliation Motion.
Telephone calls from Joyce Perugini, Lyndan
Johnston and Debra Spinner regarding status of
claims (.3); continue review of claims filed
with Bankruptcy Court (1.0).

Continued review of claims filed with
Bankruptcy Court and update database
accordingly.

Claimant inquiries.

Follow up regarding Claim Reconciliation
Motion.

Continue review of claims filed with Bankruptcy
Court and update data base accordingly as to
priority asserted; telephone call from Leydon
Guerra regarding status of distribution.
Assist with preparation of Claim Form.

Draft motion to limit notice in connection with
claim reconciliation motion; review and revise
same.

Continued review of claims filed with
Bankruptcy Court; update database accordingly.
Review service list in connection with motion
to limit notice regarding claim reconciliation
motion and update same based on current pacer
docket.

Obtain copies of relevant pleadings in
connection with hearing on Merrick Bank's 2004
motion in preparation of hearing (.3); update
database as to missing address for claimants
(1.5).

Review and substantively revise and augment
Claim Reconciliation Motion (2.6); review and
revise new proposed Claim Form (.8); attention
to preparation of Motion to Limit Notice (.1).

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MIRICK, O’ CONNELL

F (Part 6) Page 29 of 71

Page405

Invoice Number ******

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Telephone call from Patrick McNamara regarding
status of claim and to confirm current address.
Further revise, augment, and continue
developing Claim Reconciliation Motion and
proposed Claim Notice.

Begin revisions to claim motion.

Multiple claimant calls, emails.

Complete revisions to claim process motion.
Update service list and prepare certificate of
service for motion regarding claim
reconciliation process; assist with finalizing
and efiling service of motion regarding claim
reconciliation process and motion to limit
notice (1.2); review correspondence from Sheryl
Snyder and confirm information included in
claim database (.1); continue review of claims
database to confirm service address for all
consumers (3.8).

Assist with incorporation of Trustee's edits to
Claim Reconciliation Motion (.1); review
Trustee's edits and further revise Motion
regarding Claims Reconciliation (.4); further
revise Claim Form to clarify process for
consumer claimants (.4); review and revise
Motion to Limit Notice (regarding Claim /
Reconciliation Motion) (.7); finalize Motion
and Claim Form for filing and attend to filing
of same (.3); revise and finalize Motion to
Limit Notice and send to Trustee for review
(.5); assist with filing logistics (.1); review
and execute Certificate of Service (.1).

Review database to confirm designation of
consumer claimants and to identify claimants
missing mailing addresses in anticipation of
service of claim form on all consumer claimants
(4.5); telephone calls from Angela McClinton,
Corrine Fisher and Janie Bender regarding
status of claims/distribution (.2).

Consider use of new Merrick Bank customer data
in claims reconciliation.

Follow up and execute all claim reconciliation
pleadings and Certificate of Service.

Receipt of updated claim form from J. Glemb at
WUTV-Fox 29 (.1); continue review of database

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Joseph H. Baldiga,

F (Part 6) Page 30 of 71

Page406

Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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to confirm designation of consumer
claimants/missing addresses and coordinate
obtaining missing addresses (5.0).

Organize claims, miscellaneous claim
information, coordinate obtaining missing
addresses for consumer claimants (3.3);
telephone call from J. Coard and Raymond Bouman
regarding status of claims. (.2).

Review first consumer claim form (from
non-consumer) and consider potential objection
process; email Trustee regarding same.

Draft certificate of service regarding notice
of hearing regarding motion to approve claim
reconciliation process; review service list;
track order regarding motion to limit notice.
Track receipt of wire transfer from Valley
National Bank.

Review Court‘’s Order limiting notice; review
and track Court’s Order scheduling hearing on
Claim Reconciliation Motion; attend to noticing
out of same. /

Telephone call from Petra Templin regarding
status of claim/distribution and to confirm
contact information.

Review, confirm related details, and execute
Certificate of Service regarding Notice of
Hearing.

Telephone call from counsel to non-consumer
claimant with inquiry about claims disallowance
process.

Multiple claimant inquiries.

Telephone call from Matt Guarino and Debbie
Sandbrook regarding status of
claim/distribution (.2); strategy regarding
service of proposed notice to consumer
claimants and anticipate service issues (.5);
attention to missing addresses for consumer
claimants and designation of all consumer
claimants in database (2.4).

Strategies for claim reconciliation, 8/7
hearing, and multiple claimant inquiries.
Follow up regarding hearing on Claims
Reconciliation Motion, including to confirm
notice issues.

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F (Part 6) Page 31 of 71

Page407

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Coordinate/assist with updates to master
database in connection with service issues.
Attention to datatable to be used for service
of court- approved claim form and attention to
process for determination of certain
duplicative/consumer claims/missing addresses.
Attention to master claim database and
additional database for service of proof of
claim form to all consumer claimants; develop
process for determining duplicative addresses
and locating missing addresses.

Review additional datatables created for
purpose of mailing claim form to all consumer
claimants and consumer claimants with missing
contact information; develop strategy for
tracking potential distribution to consumer
claimants and other priority creditors.
Telephone call from J. McElroy and J. Benoit
regarding status of claim.

Attend to Merrick comments regarding proposed
claim form (.1); review Department of
Transportation comments on proposed claim form,
consider impact of each, prepare revised
proposed claim form incorporating Department of
Transportation edits, and email Trustee with
recommendations regarding same (.5).

Extensive discussions with Attorneys Brock,
Handel regarding claim process, notice, and
multiple rounds of revisions to reflect
comments.

Telephone call with Attorney Brock regarding
Claim Form and possible comments (.4); confer
with Trustee regarding Claim Form and consider
potential edits (.2); implement Trustee’s
suggested edits into a revised Claim Form and
revised proposed Order (.3); email revised
Claim Form and Order to Attorneys Handel and
Brock, with explanation of same (.3); review
proposed revised Claim Form from Merrick (.1)
and review multiple emails between counsel to
Department of Transportation and Merrick
regarding possible revisions (.2); review email
from A. Handel regarding s 507(a) (7) concerns
(.1).

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Joseph H. Baldiga,

F (Part 6) Page 32 of 71

Page408

Invoice Number ******

Chapter 7 Trustee

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Multiple rounds of revisions, comments
regarding claim form and related emails with
Attorneys Handel, Brook, and related emails
with same regarding proposed order (.9);
multiple claimant inquiries regarding priority,
distribution issues (.3); related emails with
Attorney Reier (.2).

Telephone call from Mike Johnson to confirm
receipt of claim/contact information.

Review memorandum from Trustee regarding s
507(a) (8) status of consumer claimants.
Continued emails with Attorneys Brock, Handel
regarding claim form, order revisions.

Review multiple memoranda regarding edits to
claims form.

Continued lengthy calls and emails with
Attorneys Brock and Handel regarding claim
order, notice (1.1), revise and circulate
revised forms of same (.4).

Review multiple emails from Trustee, DOT
counsel, and Merrick counsel regarding Claim
Form (.1); strategize with Trustee regarding
filing of revised Claim Form (.1).

Draft Supplement to Claim Reconciliation
Motion, including preparation of exhibits (.8);
review and revise Supplement and Exhibits (.3);
attend to finalizing and filing same (.1).
Telephone call from Michael Johnson regarding
process for filing claim.

Review and revise Certificate of Service
regarding Supplement to Claim Reconciliation
Motion (.1); prepare hearing subfile for
Trustee with Claim Reconciliation Motion
documents (.2); review emails regarding
anticipated Merrick Objection to Claims
Reconciliation Motion (.1).

Emails to various consumer claimants to request
current contract information; updates to data
table.

Review and assess Merrick’s Response to Claim
Reconciliation Motion (.2); update hearing file
(.1).

Review open claim form, notice issues for 8/7
hearing (.2), multiple claimant inquiries (.3).

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

F (Part 6) Page 33 of 71

Page409

Invoice Number ******

Chapter 7 Trustee

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Review inquiry message from airport claimant.
Review and update materials for hearing on
Claims Reconciliation Motion.

Review and consider email from Department of
Transportation responding to Merrick Objection.
Extensive discussions with Attorney Brock,
Handel regarding claim form, proposed order and
make and review revisions to same (1.4);
related strategies for 8/7 hearing (.3).
Attention to returned mail regarding claim
reconciliation motion.

Review list of consumer creditors without
contact information, search master datatable
for contact information based on other possible
claims filed by the creditors.

Strategize with Trustee regarding updates to
Claim Form and proposed Order to reflect
additional comments and objections from Merrick
and Department of Transportation (.4); review
memoranda with Department of Transportation
regarding same (.1); implement proposed
revisions into Claim Form and proposed Order
(.3); review email from Trustee regarding
revisions (.1); review and assess email from
Attorney Brock with additional comments on
proposed Order (.1); additional revising and
veformatting of Claim Form (.3); email revised
documents to Department of Transportation and
Merrick counsel (.1); emails with Trustee
regarding revisions (.1); review additional
comments from Department of Transportation and
Merrick, conference with Trustee, and suggest
resolution to language to Department of
Transportation and Merrick (.5); telephone call
with Department of Transportation counsel (.2);
email final version to Merrick and Department
of Transportation counsel (.2); prepare
materials for 8/7 hearing (.4).

Review final forms of claim notice and proposed
order and strategies for claim hearing (.4);
review Court changes to both and follow-up
issues regarding notice, claim review and
priority issues (.4).

Finish emails to claimants to request mailing

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

MIRICK, O’ CONNELL F (Part 6) Page 34 of 71 Page410

. Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

information and track responses; forward list
of bond claimants without contact information
to Platte River; review claims register and
obtain copies of additional filed claims for
entry in master service list; telephone calls
to several claimants to request mailing
addresses.
08/07/13 goneil 9290 Prepare notes and materials for hearing on 3.60 918.00
Claim Reconciliation Motion (1.7); travel to
and from Court (.5); represent Trustee at Claim
Reconciliation Hearing (1.3); email Trustee
with hearing results (.1).
08/07/13 goneil 9290 Revise Claim Form and proposed Order consistent 1.80 459.00
with Court’s directives (1.0); telephone call
with Trustee regarding edits (.1); consult with
Trustee staff regarding consumers’ questions
about Claim Form (.2); review Court’s Order on
Claim Reconciliation Motion (.1); attend to
preparation of logistics for mailing Claim
Notice to claimants (.1); further revise Claim

Form (.3).

08/07/13 goneil 9290 Prepare Second Supplement to Claim 0.40 102.00
Reconciliation Motion.

08/08/13 JHB 9290 Further revisions to claim notice, order and 0.40 156.00
review related notice, distribution issues.

08/08/13 kmdellec 9290 Telephone call from Lyndon Johnson regarding 5.00 925.00

status of claim; review list of bankruptcy
claims to confirm consumer claimant
classification prior to service of notice;
electronic mail from P. Framke regarding
missing contact information; track responses
from claimants to provide current contact
information; additional emails to claimants to
request contact information; telephone call
from Ruth Sommer to provide mailing
information; telephone call to D. Niemann
regarding current address; review disks
provided by Platte River to locate claimant
contact information.

98/08/13 goneil 9290 Additional revisions to proposed Order, 1.60 408.00
including to confer with Trustee regarding same
(.4); email counsel to Department of
Transportation and Merrick with revised
documents (.1); review and revise Second
Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

MIRICK, O’ CONNELL

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Joseph H. Baldiga,

F (Part 6) Page 35 of 71

Page41i

Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Supplement (.2); telephone call with Department
of Transportation counsel regarding proposed
Order and follow up emails with additional
suggestions for wording of same (.3); finalize
Supplement package for filing (.2); review and
execute final package and Certificate of
Service (.2); email Court with word versions of
revised documents (.2).

Review Court’s Order Approving Claim
Reconciliation Motion (.1); develop logistics
for mailing Claim Form and responding to
consumer claimant inquiries (.4); memorandum
regarding same (.1); review follow up email
from Trustee regarding additional mailing
logistics (.1).

Continued attention to claim notice,
resolution.

Track responses from various consumer claimants
as to current contact information; identify and
review remaining claims without contact
information; identify remaining steps to be
taken for service of claim notice.

Additional emails regarding logistics of Claim
Form mailing.

Review open claim notice issues and strategies
regarding same.

Discuss timing/process for service of claim
notice and address issues of resolving missing
addresses (.5);. final review of data table to
be used for mailing notice to consumer
claimants; updates to addresses and further
strategy regarding mailing and duplicative
claims (2.0).

Emails with team regarding missing contact
information for claimants.

Strategies regarding notice, lack of contract
information for certain claimants, mailing
issues.

Continued attention to claim form notice ,
service issues.

Attend to voice message from consumer claimant
about status of. claim,

Attention to responses from consumer claimants
received via email and track same; respond to

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F (Part 6) - Page 36 of 71
Page412

Invoice Number ******

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incomplete claims and request complete forms;
return phone calls and voicemails received from
various claimants; forward mandatory claim form
via electronic mail to those claimants without
mailing addresses.

Claimant inquiries and review related notice,
priority issues.

Receipt/track mandatory claim forms received
via electronic mail.

Address consumer call issues (.2).

Receipt of and compile faxed executed claim
forms from claimants and strategize regarding
tracking same.

Receipt/review of various claim forms via
electronic mail; telephone calls to various
claimants to request complete claim forms and
return calls to various claimants regarding
miscellaneous questions; prepare form letter in
follow up to incomplete claims for those
claimants with no other contact information
other than mailing addresses and prepare letter
to various claimants.

Address consumer claimant call issues and
review Memorandum to Trustee regarding Valley
National Bank message to claimants (.2);
memoranda regarding developing response to
consumer claimants seeking previous claim
information (.2).

Receipt/track mandatory claim forms via
electornic mail and respond to incomplete
forms.

Strategize regarding process for distribution
and transfer of claim information to Trustee
Claim Management Service (TCMS) .

Receipt/track mandatory claim forms via
electronic mail; respond to incomplete claims
via electronic mail and fax; telephone call
from Al at. Bankruptcy Court regarding claims
received by Court.

Inquiries from consumer and non-consumer
claimants regarding priority issues.

Receive and track mandatory claim forms via
electronic mail and respond, as necessary,
regarding confirmations and incomplete forms.

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

F (Part 6) Page 37 of 71 Page413

Invoice Number ******

Chapter 7 Trustee

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Review memoranda regarding consumer and
non-consumer claimants’ calls.

Receipt/track mandatory claim forms via
electronic mail; respond to incomplete claims
via electronic mail.

Attention to mandatory claim forms received via
electronic mail; respond to creditors regarding
incomplete claims and to confirm receipt;
telephone calls from various claimants looking
to confirm receipt of claims; prepare
certificate of service for mandatory claim form
and strategy regarding same.

Receipt of and track mandatory claim forms via
electronic mail and respond to incomplete
claims and requests for confirmation of
receipt; review status of claim forms received
and process for tracking.

Receipt of and track mandatory claim forms via
electronic mail; confirm receipt and amounts on
prior claims for various claimants.

Revisions to certificate of service and service
list regarding service of notice and mandatory
claim form.

Review memoranda regarding consumer claimants’
claim amounts (.1); consider logistics of
preparing a Certificate of Service for all
claim notices sent and exchange memoranda
regarding same (.2); review and revise service
list, including section for claimants with
insufficient contact information, and consider
alternatives and issues associated with
inability to provide service (.4).
Receipt/review mandatory claim notices via
electronic mail; respond to various claimants
regarding missing claim amounts; address
incomplete fax transmissions; finalize
certificate of service regarding mandatory
claim for efiling; prepare email to team
regarding current status of claims being
returned and tracking amounts of same.
Continued attention to claim reconciliation,
priority issues.

Receipt/track mandatory claim forms via
electronic mail; respond to incomplete claims;

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F (Part 6) Page 38 of 71

Page414

Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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telephone calls from creditors with questions
regarding contact information (x2) and claim
amounts; review procedure for tracking all and
strategy regarding claim amounts over $1,500.
Review summary of claims information and
organization, consider additional logistics in
connection with same, and review response from
Trustee regarding threshold for review (.5);
assist with development of additional logistics
for sorting and saving claims, and email
Trustee regarding same (.3).

Further attention to claim reconciliation
issues and strategies including claim review,
meet with team.

Meet with trustee and team to review status of
claim reconciliation process and steps moving
forward (.3); attention to claims received via
electronic mail and respond, as necessary, to
incomplete claims (4.1).

Claimant inquiries.

Review email outlining logistics of new Claim
Form chart.

Calls with claimants regarding priority, credit
issues.

Continued claimant inquiries and address claim
issues.

Track incoming claims via electronic mail;
enter completed claims information into
database.

Emails regarding treatment of consumer
creditor's claim.

Multiple claimant inquiries.

Track claims received via electronic mail;
follow up on incomplete claims and to request
additional information; telephone calls from
creditors (Iteeka Brown, Steve Foellmi, Al
Castagna and M. Diorio) to confirm receipt and
to request timing for distribution; enter
completed claims in database.

Continuing claimant issues, inquiries and
review.

Telephone call from Jeremiah Avery regarding
status of claim.

Note newly-filed consumer claim and request by

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F (Part 6) Page 39 of 71

Page415

Invoice Number ******

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non-filing consumer for Claim Form, consider
issues related to providing claim forms,
including extending bar date, and prepare
memorandum to Trustee regarding same (.4);
follow-up regarding logistics of adding
additional creditors post-bar date (.1).
Multiple creditor inquiries.

Receipt/track claims received via electronic
mail and follow up regarding incomplete claims.
Draft form letter to Charter participant
claimants enclosing initial distribution;
review and revise (x2).

Attention to claims received via electronic
mail and follow up/track incomplete claims
(2.2); enter completed claims into database
(3.4).

Assist with consumer claims issues.

Multiple claimant inquiries, responses.

Enter computed claims into datatable; attention
to completed claims returnéd via electronic
mail. ,

Review pacer docket to determine/update current
service list.

Review draft Distribution Letter to consumer
claimants and strategize regarding timing and
contents of same.

Claimant inquiries (2x) (.2), call from Mr.

. Smith (press) regarding claim deadline,

priorities (.2).

Attention to completed claims received from
consumer claimants via electronic mail and
respond to various creditors regarding
confirmation of claim receipt and status of
distribution; entry of completed claims.
Claimant, counsel, press inquiries.
Attention to incoming consumer claims via
electronic mail and respond to various
claimants to confirm receipt of claims and
status of distribution;. entry of claims
information into datatable.

Organize file information regarding consumer
claimants/reconciliation process.

Attention to completed claims received via
electronic mail; strategy regarding upcoming

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

F (Part 6) Page 40 of 71

Page416

Invoice Number ******

Chapter 7 Trustee

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deadline to file claims; forward claim form to
creditors as requested.

Claimant inquiries, claim and issue review
regarding components, priority.

Attention to claims received via electronic
mail and questions regarding completed claims
received via fax and email; confirm receipt of
claims to various claimants.

Review summary of Claim Form response issues
and assist with logistics regarding deadline
and late claims.

Assist with information for consumer claimant
caller (.1); review newspaper article directing
claimants to return Claim Forms and consider
issues related to tracking new claimants (.2);
draft memorandum regarding same (.1).

Claimant inquiries (2x) (.3) and assess open
claim, allowance issues (.2).

Multiple claimant inquiries, responses.

Call from Ms. Hathaway regarding proof of

. Claim; review claim and draft memo regarding

same.
Assist with information to provide to consumer
claimant.

Claimant issues and inquiries.

Claimant issues and inquiries.

Review large number of larger claims and
determine allowability (1.1); claimant
inquiries (.2).

Review email regarding treatment of late-filed
claims.

Continue review and allowability of larger,
unsupported claims.

Multiple claimant inquiries.

Analyze and chart submitted claim forms and
review late filed claims.

Attention to completed mandatory claims
received via electronic mail; attention to
inquiries from various creditors requesting
confirmation of claim receipt; review any
outstanding issues.

Review and evaluate multiple larger claims
(.3), multiple claimant inquiries (.2).
Telephone call from Darlene at AT&T regarding

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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Joseph H. Baldiga,

F (Part 6) Page 41 of 71

Page417

Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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outstanding invoice,

Attention to miscellaneous late filed mandatory
claim forms received via mail and email;
respond to requests for confirmation of receipt
of same.

Continue review of larger and unique claims
(.4), claimant inquiries (.2).

Attention to late filed claims received via
email; return telephone calls to various
creditors seeking confirmation of trustee’s
receipt of claims; strategy regarding claims
requiring further review by trustee.

Meeting with claim team to devise claim
reconciliation and distribution strategies and
review multiple claims.

Meet with trustee and team to review status of
consumer claims and develop timeline for
distribution; review claims identified as late
claims and new claims; review file information
and claim regarding format of distribution
motion.
Telephone call from J. Banach, S. Hough, N. Bek
and M. Santom regarding status of distribution
and to confirm trustee’s receipt of claims;
attention to new and supplemental claim
information received from J. Baker, B. Dorman;
review claim of M. Friedlander and search
on-line for contact information; begin draft of
distribution motion.

Review additional larger, late claims for
allowance.

Telephone call from M. Correll and J. Hurley
regarding status of distribution; attention to
additional claims received via electronic mail
and federal express; attention to returned
mail. .

Claim review, claimant inquiries.

Review timing/allowable/objectionable claims
and additional issues to be included in
distribution motion (1.0); determine final
amount of claims asserted by charter
participants and determine amount of claims
asserted by Jet Pay and Merrick and report
results; review claims register to confirm no

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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F (Part 6) Page 42 of 71

Page418

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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additional claims filed since bar date (.5).
Continued attention to claim materials,
reconciliation, strategies for distribution
motion, late claims.

Attention to late filed claims and respond to
creditor inquiries regarding status of
distribution.

Review summary of total consumer claims and
strategize regarding format and contents of
Distribution Motion.

Further attention to distribution motion
structure, grounds (.3); claimant inquiries and
review of late claims (.2).

Attention to late filed proofs of claim.
Telephone call from F. Zupo regarding status of
distribution; electronic mail to N. Maliteure
regarding late claim; continue draft of
distribution motion.

Claimant issues and inquiries.

Research, emails regarding disbursement motion
(.4); claimant inquiries and claim review (.3).
Review materials for claims distribution
motion.

Further strategies, claim review regarding
distribution motion.

Receipt/review additional late claims and track
same (.3); continue draft of distribution
motion (1.5); electronic mail to D. Reier to
confirm claims of Merrick Bank and Jet Pay;
telephone calls from J. Hurley and H. Mullen
regarding status of distribution (.1).
Continued attention to claim reconciliation,
distribution motion grounds and issues (.4);
review additional claim materials (.2).

Emails with Attorney Reier, Gurfein, Brock
regarding claim issues.

Respond to creditor inquiries via telephone and
fax; receipt/track additional late claim.
Review additional late claims, strategies to
address these and other claims, and for
distribution motion.

Continue draft of distribution motion; review
proposed distribution.

Review additional claims, strategies for

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F (Part 6) Page 43 of 71

Page419

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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distribution motion.

Review status/timing for distribution motion
and additional late claims (.3); review
format/issues/exhibits addressed in
distribution motion (.5).

Review multiple memoranda regarding late claims
and process to analyze.

Follow-up regarding Claims Reconciliation
Motion.

Claim review, UST emails regarding distribution
issues.

Review initial proposed distribution and
strategy regarding same (.3); confirm all
exhibits/attachments to be included with
distribution approval motion and review same
(1.0).

UST emails regarding distribution issues (.2),
claim review (.2).

Emails with UST regarding claim, distribution
issues.

Respond to creditor inquiries (x5); letter to
creditor enclosing certified copy of death
certificate provided as back up; quantify and
summarize late claims.

Review additional claim materials and
distribution issues (.3), related meeting with
claim team (.3), related call, emails with
Attorney King/UST (.2).

Conference with team regarding status and
timing of charter participant claim
distribution process (.2); revise outline of
approval motion (.5).

Review multiple emails regarding Claim
Reconciliation Motion and treatment of
late-filed claims.

Continued attention to open claim, distribution
issues, and review proposed distribution.
Respond to telephone calls and emails from
creditors regarding status of distribution.
Review claims distribution chart and emails
regarding same.

Review additional distribution issues and
materials.

Calls and email from claimants egarding status

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F (Part 6) Page 44 of 71

Page420

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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of claims and distribution.

Respond to electronic mails and emails from
claimants regarding status of distribution;
verify claim status in database; review draft
distribution motion.

Respond to inquiries from charter participants
regarding status of claims/distribution and
review database regarding same (.5); continue
revisions to distribution motion (1.5).
Continue drafting, and revisions to,
distribution motion.

Claimant inquiries.

Continue draft of distribution motion.
Claimant inquiries; distribution motion issues.
Continue draft of distribution motion and
review steps taken by team to track completed
forms and proposed exhibits; revisions to
motion,

Assist with development of claim distribution
motion (.2); review and revise distribution
transmittal letter to claimants (.4); consider
alternative ways to get information to consumer

‘callers who received letter (.2); memorandum

regarding same (.1).

Respond to creditor inquiries via electronic
mail (x4) (.2); continue claim distribution
motion (5.0); review and revise transmittal
letter in connection with distribution checks
(.5).

Multiple claim review and analysis, review
revised distribution schedule, devise
strategies for distribution motion.

Complete draft of claim distribution motion and
exhibits; attention to receipt of 2 additional
claims; review file information and notes to
ensure all issues included in the motion;
review claims register to confirm no additional
claims filed with Bankruptcy Court; draft and
review motion to limit notice and certificate
of service; confirm service list; revise motion
to include language regarding disallowance of
claim notices received by trustee after
extended deadline.

Continued review of assented claims, and devise

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MIRICK, O’ CONNELL

F (Part 6) Page 45 of 71

Page421

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee.

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Direct Air (Southern Sky Air & Tours, LLC)

strategies regarding late claims, distribution
motion.

Final review/revisions to distribution motion
prior to trustee’s review (x2); telephone call
to Leah Coultes regarding duplicative claim;
telephone call from Alice Wirtz regarding
status of distribution.

Revise claim distribution motion, review
underlying materials, strategies.

Review revised claim distribution motion,
review objectionable claims, distribution
issues and strategies.

Final review of distribution pleadings and
related claims, open issues (.6); related
emails with Attorney Reier (.1); creditor
inquiries (2x) (.3).

Finalize/coordinate e-filing and service of
claim distribution motion; track order allowing
motion to limit notice; telephone calls and
emails from creditors (x3) requesting status of
distribution; organize file information and
backup.

Receipt of late claim and strategy regarding
same.

Review status of claim reconciliation and
disbursement motion.

Review Disbursement Motion and accompanying
exhibits and transmittal letter.

Continued claimant inquiries and calls with
reporters regarding distribution motion and
issues (.6); review additional late claims
(.2).

Draft cover letter to late claimants enclosing
copy of distribution motion (1.0); revise and
finalize for transmittal to late claimants and
prepare supplemental certificate of service
regarding late claimants (.4).

Continued attention to claim issues including
notice, additional late claims, creditor
inquiries.

Continued review of discovery issues and

strategies.
Review additional late claims, and revise
letter to same.

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F (Part 6) Page 46 of 71

Page422

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Telephone call from N. Golden, Ms. Spinner, R.
McManus and M. Martin regarding status of
distribution, review payment datatable and
respond.

Continued organization of file information;
claim information.

Claimant inquiries, calls with press regarding
claim process and deadlines.

Organize file information/working file
information regarding charter participant
claims.

Complete organization of consumer claim
documents/file information regarding same.
Telephone calls/emails from various creditors
(x4) regarding status of distribution, review
proposed distribution to confirm claim and
respond to all (.3); continue to organize file
information (.8); receipt/review objection
filed by D. Parker (.2).

Telephone call from J. Thomas, K. Arslan and G,
Miller regarding status of distribution; review
proposed distribution to confirm their claim is
included.

Review creditor’s objection to Distribution
Motion.

Call with Attorney Brock, Gurfein regarding
claim motion, duplicate claims (.3), follow up
emails regarding same and 1/9 hearing issues
(.3).

Receipt of hearing notice regarding claim
distribution motion; draft and review/revise
certificate of service regarding same; review
service list.

Review Court’s Order Scheduling hearing on
distribution motion and follow up emails
regarding same.

Continued review of open claim issues,
strategies for 1/9 hearing, and related emails
with Attorneys Brock, Gurfein.

Emails with Merrick counsel regarding claim
issues,

Electronic mail from/to R. Desaulniers, M.
Kampf, L. Guerro and G. Lambot regarding status
of distribution; review proposed distribution

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MIRICK, O'CONNELL

F (Part 6) Page 47 of 71

Page423

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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regarding same; review electronic mail from T.
Brock regarding sampling of claims.

Electronic mails from and to P. Kellogg, A.
Miron and N. Croteau regarding status of
distribution; review proposed distribution to
confirm.

Review email from Attorney Brock proposing
testing for double-paid claimants.

Further review of claim issues and materials,
including testing of claims by Merrick counsel,
and transmit related claim materials to
Attorneys Brock, Gurfein.

Review emails regarding claims review.
Electronic mail from/to L. Smith, P. Kellogg,
J. Sorenson regarding status of distribution
(.1); review process of claim review in
connection with VNB claims (1.3).

Substantive emails with Attorneys Brock,

Gurfein regarding claim review and distribution

issues and strategies (.8) review underlying
claim issues and materials (.3).

Review letter filed with Bankruptcy Court by
Congressman Brian Higgins (.1); begin draft of
supplement to proposed distribution motion and
discuss same with trustee (1.5).

Review docketed letter from congressman
regarding consumer reimbursements (.1); review
and assess lengthy T. Brock email regarding
"double dipping" and other issues regarding
claims (.3); review Claim Reconciliation Order
to confirm priority claim portions and provide
assistance with Trustee's response to Attorney
Brock (.2); assist with assessment of request
for Valley National Bank backup and previous
work regarding claims (.3); review follow-up
emails regarding same (.1).

Review open claim issues and materials (.4),
lengthy conference call with Attorneys Gurfein,
Brock regarding same and follow up emails (.7).
Strategy regarding additional claims noted by
T. Brock for further review by trustee and
review spreadsheet regarding same (.8);
continue draft of supplement to distribution
motion and exhibits for same (2.0); draft

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Joseph H. Baldiga,

F (Part 6) Page 48 of 71

Page424

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Chapter 7 Trustee -

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motion to limit notice and certificate of
service (1.3); review and revise all (.8);
assist with locating claims identified by T.
Brock (.2).

Telephone call from D. McCarthy and S. Holmi
regarding status of distribution; confirm
proposed distribution regarding same.

Review emails regarding "double dipping"
consumers and next steps to address
distribution.

Review various claims and materials from
Merrick counsel regarding objection grounds,
devise strategies for supplement, and multiple
emails with Attorneys Brock, Gurfein regarding
same and rights reservation regarding future
objections.

Additional review/revisions to supplement to
Claim distribution motion and motion to limit
(x2); electronic mail from/to K. Sullivan
regarding status of distribution.

Continued attention to claim redundancies, |
objection grounds and strategies.

Electronic mails from/to B. Steinberg and D.
Gogal regarding status of distribution; review
proposed distribution in connection with
responses.

Begin review of possible double recovery
claims.

Multiple claimant. inquiries (3x).

Attention to claims identified by Merrick Bank
as already receiving refund/charge backs.
Telephone call from D. Sambrook regarding
status of distribution.

Review claims to confirm Merrick double payment
claims and calls to 30 or so claimants to
verify outstanding claims (1.3); related emails
with Attorney Brock (.2).

Review trustee’s suggested revisions to
distribution motion supplement and implement
same; revise exhibits, proposed order, motion
to limit and certificate of service
accordingly; confirm service list.

Revise modified supplement to claim motion and
review related claim materials (.3); claimant

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F (Part 6) Page 49 of 71

Page425

Invoice Number ******

Chapter 7 Trustee

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calls to verify claims (3x) (.4).

Oversee revisions to supplement and revised
proposed distribution; review/implement
trustee’s comments regarding same.

Review and finalize supplement to distribution
motion for efiling and service.

Review Trustee’s Supplement to Claims
Distribution Motion.

Telephone call to J. Parker regarding trustee’s
supplement to proposed distribution motion and
request for allowance of his claim (.1);
prepare/organize file for hearing on proposed
distribution motion and supplement (1.0); track
order allowing motion to limit notice regarding
supplement (.1).

Claimant inquiries; strategies for 1/9 hearing.
Multiple claimant inquiries/emails (4x) (.4);
review open priority, late claim treatment
(.2).

Track inquiries and new contact information
from claimants.

Further analysis, strategies regarding claim
resolution, 1/9 hearing.

Telephone calls from N. Golden, I. Brown, J.
Perrigini, K. Perrault, E. Cuniff, M. Huff and
L. Frankosky regarding status of proposed
distribution.

Claimant inquiries, implications for 1/9 claim
hearing.

Review distribution materials and issues in
preparation for 1/9 claim hearing.

Telephone call from T. Laporte, W. Cunningham,
S. Hird and A. Case regarding status of
distribution; electronic mail from and to T.
Clauss.

Prepare file for hearing on proposed
distribution; electronic mail from/to L. Smith
and D. Galassi regarding status of
distribution.

Review Merrick objection, preparation for 1/9
hearing.

Continued preparation for distribution hearing
and devise responses regarding Merrick
objection (1.3); participate in claim hearing

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F (Part 6) Page 50 of 71

Page426

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air

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(Southern Sky Air & Tours, LLC)

and obtain approval order (.8); follow up calls
and emails with Attorney Handel (.3); follow up
attention to distribution issues (.3) and
multiple claimant, press inquiries (.4).

Track order allowing motion to approve proposed
distribution; electronic mails/telephone calls
to Charter participants regarding status of
distribution; revise transmittal letter to
Charter participants; organize distribution
file and strategy regarding issuance of
distribution checks and voice mail recording
for inquiries.

Review Merrick’s Objection to Distribution
Motion (.2); review various memoranda regarding
hearing and distribution logistics (.2).
Claimant inquiries; distribution issues.

Review issues for claim distribution, related
claimant, press inquiries.

Respond to creditor inquiries via electronic
mail regarding status of distribution; track
claim submitted by F. Roberts and respond via
electronic mail; organize claim information.
Revise letter to claimants and review open
distribution issues.

Strategy regarding issuance of distribution
checks; additional revisions to transmittal
letter (x2) (.4); electronic mails from/to J.
Hurley, B. Meier, C. Ramie (.2).

Attend to check issuing project for 26%
distribution to consumer claimants.

Claimant, press inquiries regarding
distributions, and review open issues regarding
same.

Respond to various electronic mails/telephone
calls from creditors regarding status of
distribution; strategy regarding timing for
distribution.

Provide copies of Merrick Bank and American
Express claims to litigation counsel.

Receipt of electronic mails/telephone calls
from M. Martin, Margo Kampf, P. Kellogg and M.
Spivey regarding distribution status; review
distribution datatable to confirm claimants
included and respond.

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F (Part6) Page 51 of 71

Page427

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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Continued claimant inquiries, record message,
review open distribution issues.

Strategy regarding status of issuance of
dividend checks to Charter participants;
telephone call from L. Cantara; receipt/track
additional claim from creditor; respond to
electronic mail (x1) and telephone calls (x3)
regarding distribution status.

Claimant, press inquiries, distribution issues.
Confirm completion of transmittal of
distribution checks to claimants and brief
review of data base for same; confirm voice
mail greeting in place.

Telephone calls from creditors regarding
distribution check and review distribution
table regarding same.

Respond to telephone calls and emails from
various Charter participants as to status of
distribution checks.

Respond to electronic mails (x3) from Charter
participants regarding distribution checks;
telephone calls from and to two claimants who
did not receive a distribution check; review
claim data tables and hard copies of claims.
Claimant inquiries, claim and distribution
review.

Electronic mail from/to T. Clauss regarding.
amount of distribution check; telephone call
from BE. McCarthy regarding distribution check.
Continued attention to open claimant,
distribution issues and. strategies to resolve.
Return calls and electronic mails to and from
charter participant claimants regarding
distribution checks (payee clauses, amounts and
no receipt of checks).

Telephone calls from J. Jones and Mr. Zupo and
E. Six regarding distribution checks; attend to
check returned by E, McCarthy.

Call, emails with check cash companies,
claimants regarding distribution.

Attend to telephone calls (.x2) and electronic
mail (A. Miron) regarding distribution checks.
Review open distribution issues and claimant
inquiries regarding distributions.

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F (Part 6) Page 52 of 71

Page428

Invoice Number ******

Chapter 7 Trustee

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Review open distribution issues, claimant
inquiries, new and returned checks.

Claimant inquiries, review open distribution
issues.

Electronic mail from/to R. Meissner regarding
status of additional distribution.

Attend to telephone calls from creditors (x2)
to update mailing address.

Multiple claimant inquiries.

Telephone call from J, Lasure and M. Stager
regarding current mailing address.

Electronic mail from A. Miron regarding
distribution check,

Telephone call from K. Underwood regarding
status of distribution; forward claim form to
K. Underwood via electronic mail.

Telephone call from D. McCarthy at IRS
regarding returned mail addressed to IRS and to
confirm mailing address.

Review claim information to determine status of
claim of claim of B. Wittenberg and report
results; letter to B. Wittenberg enclosing
mandatory claim form; review databases
regarding claim of Liberty Travel and status of
same.

Assist with consumer disbursement calls.

Calls with multiple claimants, Attorney
General’s Office regarding priority,
distribution issues.

Forward copy of claim distribution letter to
Attorney General's office via electronic mail.
Attention to consumer address issues.
Review/organize file information in
anticipation of preparation of report regarding
distribution to charter participants.

Review multiple emails among the Sky King
Trustee and various creditors.

Attention to service list updates.

Continue review of file information/notes in
connection with outline for steps in
distribution to charter participants.
Attention to returned mail; determine current
addresses.

Review open claim, distribution issues, report

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F (Part 6) Page 53 of 71

Page429

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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strategies.

Attention to inquiries from creditors regarding
distribution checks.

Telephone call from L. Johnson, K. Underwood
and L. Taylor regarding status of distribution
checks; review datatables to determine status.
Telephone call from and to creditors regarding
interim distribution status.

Attention to service list updates/returned
mail.

Review distribution issues including notice,
returned and uncashed checks and devise
strategies for report, correspondence to
claimants.

Review backup for 24 claimants who never cashed
checks and determine email address, phone
numbers and course of action going forward.
Multiple claimant, counsel inquiries regarding
claim filing, priority issues (3x).

Review open distribution issues, strategies for
voiding, resending check.

Send emails.to 22 claimants who never cashed
their distribution checks requesting current
address and phone number information.

Multiple claimant inquiries, strategies to
address check issues; revise related
correspondence,

Receive and review responses received regarding
email to claimants; review address information
provided and provide an acknowledgment email as
to timing of replacement check.

Prepare replacement checks and place stop
payments on originals (1.6); prepare cover
letter to claimants (.3)

Review updated distribution materials,
replacement checks, and revise related
correspondence (.4); claimant inquiries
regarding distribution, priority issues

(2x) (.3).

Correspond with another claimant; reissue a
missing claim check.

Muitiple claimant inquiries, replacement
checks.

Continued claimant inquiries and disposition,

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F (Part 6) Page 54 of 71

Page430

Invoice Number ******

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(Southern Sky Air & Tours, LLC)

replacement checks.

Correspond with claimants regarding replacement
check; telephone claimants regarding claim
checks and reissuing checks; leave telephone
messages for claimants.

Continued claimant inquiries and replacement
checks.

Continued claimant issues and inquiries,
replacement checks.

Review tax claims asserted to confirm amounts.
Additional claimant inquiries, replacement
check.

Review status of outstanding distribution
checks; strategy for completion of distribution
process; review file information regarding same
and status report. ,

Telephone call from and to L. Taylor at Liberty
Travel regarding status of distribution.
Multiple claimant inquiries regarding priority,
claim and distribution issues.

Continued claimant inquiries regarding further
distributions, priority issues (3x).

Claimant inquiries regarding priorities,
replacement checks (2x).

Multiple claimant inquiries regarding priority,
distribution issues (3x) (.4); review grounds,
next steps for distribution motion (.2).
Claimant issues and inquiries, execute
replacement checks.

Electronic mail from/to M. Stager regarding
status of distribution; telephone call from/to
Micah Kistler regarding status of distribution;
telephone call from/to Christian Andrade
regarding status; review datatable regarding
status of same.

Claimant inquiries, check issues.

Claimant issues and inquiries, replacement
checks, distribution report strategies.
Telephone call from C. Andrade regarding status
of distribution.

Creditor inquiries regarding priority,
distribution issues.

Devise grounds for claim report, distribution
motion, :

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F (Part 6) Page 55 of 71

Page431

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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(Southern Sky Air & Tours, LLC)

Discuss format/timing for redistribution motion
with trustee.

Continued attention to claim motion and review
related distribution issues, materials.
Claimant, press inquiries.

Telephone call from L. Guerra regarding status
of distribution.

Telephone calls from Todd Perkins and Laureen
Taylor regarding status of claims; forward copy
of mandatory claim form to T. Perkins via
electronic mail.

Claimant inquiries and review related
distribution, priority issues.

Review materials, strategize regarding
distribution motion.

Claimant inquiries regarding distributions,
priority and review underlying materials (2x).
Multiple claimant inquiries regarding claim and
priority issues, case prospects.

Review correspondence from charter participants
to determine amount of claims to be included in
re-distribution.

Update service list for main case.

Creditor inquiries regarding bar date, priority
issues.

Review and research uncashed distribution

payments and determine status of all
outstanding checks regarding same; issue stop
payments on 4 checks and reissue to claimants;
letter to claimants enclosing payments.

Review distribution report, devise strategies
to address non-cashed checks, new claimants.
Review summary of outstanding charter
participant distribution checks.

Continued attention to grounds, strategies for
claim distribution report and motion and
related review of payment, allowance status.
Further strategies regarding claim report and
motion (.2), review additional distribution
materials, replacement checks (.2).

Review open issues, strategies to address, stop
payment and replacement checks all regarding
distribution motion and report.

Multiple claimant calls regarding possible late

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F (Part 6) Page 56 of 71 Page432

Invoice Number ******

Chapter 7 Trustee

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claims, priority issues (3x).

Further claimant inquiries (x2)(.3); review
open issues for distribution report, strategies
to address (.2).

Review and revise re-distribution motion;
review revisions.

Review prior agreements and motions in
connection with authorizing claim
reconciliation process and interim distribution
to determine if re-distribution provisions
provided; continue motion for authority to make
re-distribution to unpaid charter participants.
Review correspondence from creditors regarding
payment of "interim" distribution to determine
those claimants eligible to participate in
redistribution; revise redistribution motion
accordingly.

Telephone call from Laureen at Liberty Travel
regarding status of re-distribution.

Continue review/revisions to re-distribution
motion and attachments for same.

Review and update status report on initial
claim distribution.

Continue re-distribution motion and exhibits.
Multiple claimant inquiries regarding claim,
priority issues, implications for distribution
motion.

Final review and revisions to distribution
motion and exhibit; confirm information in
motion obtained from master database and claim
notice database; review updated summary of
outstanding distribution checks.

Begin review of, revisions to claim motion.
Final review and revisions to re-distribution
motion.

Review status of distribution checks, newly
filed customer claims, and address replacement
check, stop payment issues and consequences
(.7); work on distribution motion and report
and review underlying claim, distribution
materials and issues (2.3).

Review new claim materials from additional
claimants, implications on claim motion, and
revisions to same.

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F (Part 6) Page 57 of 71
MIRICK, O'CONNELL Page433

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

TYPE 9290 TOTAL 663.70 KREKKKKKKR

TASK: 9310 Employment Applications

Attorney Summary Hours Value Rate

139 JHB Joseph H. Baldiga 6.30 2,401.00 381.11

290 goneil Gina B. O'Neil 5.30 1,287.50 242,92

274 kmdellec Kimberly M. De 28.20 5,084.50 180.30

TYPE 9310 TOTAL 39.80 8,773.00

Time Detail Hours Value
04/12/12 kmdellec 9310 Attention to conflict check and parties to be 1.80 324.00

conflicted; draft MODL retention application;
track responses regarding possible disclosures
in connection with MODL employees.

04/12/12 goneil 9310 Assist with information for Attorney’s 0.20 48.00
. Affidavit.
94/19/12 kmdellec. 9310 Review conflict search results and follow up on 1.90 342.00

potential conflict; review and revise retention
application and motion to limit notice; confirm
service list; strategy regarding remaining
creditors to be conflicted.

)4/20/12 JHB 9310 Review, revise retention pleadings and review 0.30 114.00
underlying disclosure issues and affidavit.
)4/21/12 goneil 9310 Review retention pleadings and add to service 0.10 24.00
list regarding same.
14/23/12 kmdellec 9310 Revise MODL retention application and attorney 0.50 90.00
. affidavit; finalize for service. ,
14/24/12 kmdellec 9310 Draft accountant retention application. 0.20 36.00
14/25/12 kmdellec 9310 Review/revise accountant retention application. 0.30 54.00
14/25/12 goneil 9310 Review draft accountant retention pleadings and 0.40 96.00

augment scope of services section to reflect
nature of the case.

14/26/12 kmdellec 9310 Review revisions to accountant retention 0.60 108.00
application, revise and finalize transmittal
letter and attention to enclosures for conflict
check. .

4/26/12 goneil 9310 Identify parties from SOFA and Schedules to 0.10 24.00
augment attorney and accountant affidavits.
Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

MIRICK, O’ CONNELL

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F (Part 6) Page 58 of 71

Page434

Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

Attention to supplemental conflict search based
on Debtor's proposed schedules.

Electronic mail to and from Jane at Verdolino &
Lowey regarding status of accountant’s
affidavit and declaration regarding retention.
Follow up regarding outstanding Verdolino &
Lowey employment application.

Receipt of order authorizing limitation of
notice regarding MODL retention application and
track same.

Review terms and status of arrangement with
Florida special counsel.

Prepare certificate of service regarding notice
of hearing regarding MODL retention application
and review service list vs. Pacer docket to
confirm current core service list; review
revisions to service list.

Receipt and review of accountant affidavit from
Verdolino & Lowey (.3); electronic mail to
accountant regarding status of his edits to
retention application (.1); review results of
additional conflict search (based on Schedule F
- Non Consumers) in connection with MODL
retention application, attend to determination
of possible conflicts and determine if
additional conflict search needed; prepare and
review/revise supplemental attorney affidavit
(1.5); electronic mail from R. Petrino at
Verdolino & Lowey regarding status of revisions
to accountant retention application (.1);
review debtor’s Schedule F
(Consumers/Non-Consumers) and prepare motion to
limit notice and certificate of service for
supplemental attorney’s affidavit (.5).

Revise motion to limit notice regarding
accountant retention application as a result of
schedules filed by debtor, review suggested
revision by accountant to retention application
and finalize retention application for efiling
and service.

Review Notice of Hearing regarding Application
to Employ Mirick O’Connell, update service list
and execute.

Emails.with Mr. Jalbert and review revised

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

F (Part 6) Page 59 of 71

Page435

Invoice Number ******

Chapter 7 Trustee

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retention parameters regarding VLPC retention.
Review electronic mail between trustee and
proposed special counsel (.1); prepare draft
special counsel retention application including
attorney’s affidavit, declaration, motion to
limit notice, certificate of service and
attention to attachments (1.5); review and
revise all for trustee’s review (.5).

Finalize supplemental attorney’s affidavit for
efiling and service.

Review final accountant retention application
and emails regarding same.

Review, revise supplemental disclosure
affidavit.

Begin revisions to special counsel retention
package.

Assist with Florida special counsel retention
documents.

Continue revisions to special counsel retention
pleadings (.4); related emails with Attorneys
Dees, Renner (.2)

Review trustee’s revisions to special counsel
retention application; re-format retention
application to include request for limitation
of notice; final review of all (1.2); draft
email to special counsel including proposed
retention documents for his review/signature
(.5).

Review order entered by Bankruptcy Court on
request for limitation of notice re:
supplemental attorney’s affidavit; review
service list for same and prepare supplemental
certificate of service for efiling.

Review service list used for service of MODL
retention and hearing notice for same against
current service list; prepare supplemental
certificate of service regarding MODL retention
application.

Review status of Florida Special Counsel
retention (.1); update service list for notice
of Retention pleadings (.1); review and execute
supplemental Certificate of Service regarding
Supplemental Affidavit (.1); review and revise
draft Florida Special counsel retention package

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Joseph H. Baldiga,

F (Part 6) Page 60 of 71 page436

Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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(.6); review local rules and address notice
requirements in connection with same (.2);
review and revise transmission email, finalize
documents, and oversee transmission of complete
retention package to Florida Special Counsel
(.3).

Electronic mail to and from special counsel to
confirm receipt of draft retention pleadings
and calendar ahead for receipt of same.

Review and revise special counsel retention
materials from Attorney Dees including revision
to contingency agreement (.9); review
underlying appeal materials and emails with
Attorney Dees regarding next steps (.4).
Receipt and review of signed affidavit and
declaration from Attorney Dees, as well as
proposed contingency agreement; revisions to
proposed special counsel retention application
to eliminate request for limitation of notice;
electronic mail to Attorney Dees to request
revision to affidavit; review trustee's
proposed revisions.

Continued negotiations with Attorney Dees
regarding contingency agreement and research
regarding same.

Receipt/review electronic mail from Attorney
Dees (proposed special counsel) regarding
revisions to contingency fee agreement;
strategy regarding same; review additional
electronic mail from Attorney Dees with case
law regarding fees; calendar ahead for receipt
of revised documents from Attorney Dees.
Review revised Dees retention pleadings and
contingency agreement and emails to Attorney
Dees with additional comments.

Emails with Attorney Dees regarding case
issues, retention (.2); review and comment on
revised retention pleadings, and review
finalized versions (.3); review case materials
and issues regarding next steps (.3).

Review revised documents provided by Attorney
Dees; finalize special counsel retention ,
package for efiling/service.

Final review of materials, issues regarding

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Joseph H. Baldiga, Chapter 7 Trustee

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F (Part 6) Page 61 of 71

Air (Southern Sky Air & Tours, LLC)

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Dees retention and related emails with Attorney
Dees.

Track MODL retention order.

Track receipt of order approving employment of
accountant; forward copy to accountant via
electronic mail.

Forward copy of order allowing special counsel
retention, sample fee application and local
rule to R. Dees via electronic mail; update
control sheet accordingly.

Review disclosure affidavit filed in connection
with MODL retention and report results to
trustee.

Assist with Supplemental Disclosures.

Review prior attorney affidavit and supplement;
draft second supplemental attorney affidavit
based on supplemental conflict search results;
review and revise supplemental affidavit.
Review issues and materials regarding
supplemental disclosure (preference
defendants).

Review/revise 2nd supplemental attorney
affidavit; draft and review motion to limit
notice and certificate of service regarding
same; revise service list.

Review and update Second Supplemental
Attorney's Affidavit regarding TNCI
disclosures; memorandum to group regarding
same.

Final review of revised second supplemental
attorney affidavit, motion to limit notice and
certificate of service prior to trustee's
review.

Review and revise Second Supplemental
Disclosure Affidavit, including to draft and
augment TNCI section.

Review, revise supplemental disclosure
affidavit.

Finalize second supplemental attorney
affidavit, motion to limit notice and
certificate of service for.efiling; track order
regarding motion to limit notice.

Review electronic mails from trustee regarding
retention of special counsel (David Reier) and

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Invoice Number ******

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F (Part 6) Page 62 of 71
MIRICK, O’ CONNELL - Page438

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

begin draft of retention pleadings.
09/06/12 kmdellec 9310 Draft application to employ special counsel 3.50 630.00
(David Reier, Esq.), including affidavit,
declaration, motion to limit notice and
certificate of service and confirm service list
(2.3); review and revise all (1.2).
09/07/12 kmdellec 9310 Attention to revisions to motion to limit 1.00 180.00
notice regarding special counsel retention
application (x2); review schedules and
datatable in connection with motion to limit
service list and reference to number of

creditors.
09/07/12 goneil 9310 Assist with Posternak retention pleadings (.1); 0.20 49.00
review draft Application (.1).
09/10/12 JHB 9310 Revise retention pleadings for Posternak. 0.30 115.50
09/10/12 kmdellec 9310 Attention to revisions to special counsel 0.80 144.00

retention application; forward same, along with
draft attorney’s affidavit and declaration, to
D. Reier via electronic mail for review and
signature; attention to revisions proposed by
D. Reier.
09/10/12 goneil 9310 Assist with Special Counsel Retention package 0.40 98.00
(Posternak) (.1); assist with service planning
(.1); review and execute Motion to Limit Notice
regarding same, including to identify questions
about aggregate consumer creditors (.2).

09/11/12 JHB 9310 Final review of Posternak retention materials , 0.20 77.00
and issues.
09/11/12 kmdellec 9310 Revisions to motion to limit notice regarding 0.50 90.00

special counsel retention application; finalize
retention pleadings for efiling and track same.
09/11/12 goneil 9310 Emails to address Limitation of Notice (.1); 0.20 49.00
review and execute Motion to Limit Notice
regarding Special Counsel Retention package

(.1).

09/17/12 kmdellec 9310 Track order allowing motion to limit notice 0.10 18.00
regarding special counsel retention.

09/28/12 kmdellec 9310 Track order allowing retention of special 0.20 36.00

counsel (David Reier, Esq.); forward copy of
order via electronic mail to special counsel.

06/07/13 kmdellec 9310 Provide copy of special counsel retention (R. 0.10 18.00
Dees) to trustee via electronic mail.
09/10/13 kmdellec 9310 Forward copy of retention application to 0.10 18.50

special counsel via electronic mail.
Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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09/17/13 kmdellec 9310

10/03/13 kmdellec 9310

TYPE 9310

TASK: 9311 Fee Applications

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O’Neil
281 jemurphy Jessica E. Mur
274 kmdellec Kimberly M. De
TYPE 9311 TOTAL
Time Detail

05/04/12 JHB 9311

05/10/12 JHB 9311

06/08/12 JHB 9311

F (Part 6) Page 63 of 71
Page439

Invoice Number ******

Chapter 7 Trustee
‘14190 Direct Air (Southern Sky Air & Tours, LLC)

Review email from Attorney Dees recommending 0.10
amendment to engagement agreement.

Review email from Trustee regarding changing 0.20
terms of special counsel's engagement (.1);

review email from Special Counsel regarding

updated fee agreement (.1).

Review emails between Trustee and Special 0.10
Counsel regarding changes to engagement letter

and timing for approval.

Review proposed amendments to special counsel 1.20
retention application, including amended

contingency fee, from Attorney Dees; prepare

and forward Declaration to Attorney Dees; draft
certificate of service and review service list;

finalize all for trustee’s review/signature;

implement trustee’s revisions.

Review final forms of amended retention 0.20
pleadings (.2)

Finalize amended special counsel retention 0.30
application for efiling and service.

Track order allowing amended application for 0.10
authority to employ special counsel.

TOTAL

Revise

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issues.

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Value

materials and review open TFR 0.10
materials and review related TFR 0.30

materials and review related 0.30

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Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

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F (Part 6) Page 64 of 71

Page440

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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administrative claim issues.

Continue revisions to fee materials.

Revise fee materials and review open
administrative claim issues.

Revise billing materials and review related
case issues.

Emails with Attorney Braunstein regarding
administrative claim request, information
request.

Review administrative claim issues and
materials and related TFR strategies and
status.

Revise fee materials and review related case,
distribution issues.

Revise fee materials and review related claim
filing, distribution issues.

Review fee application issues and materials,
related TFR issues.

Revisions to fee materials and review open TFR
issues,

Revise fee materials and review open TFR, asset
issues.

Revise fee materials and review open case,
distribution issues.

Review administrative claim, TFR issues and
materials.

Revise fee materials.

Revise fee materials.

Revise fee materials and review open TFR
issues.

Review corrections to fee materials.

Continue revisions to fee materials.

Revise fee materials.

Forward copy of sample fee application and
applicable local rule to Attorney Dees via
electronic mail.

Review email from Special Counsel regarding
interim fee allowance.

Draft and review/revise statement of no
objection, motion to limit notice and
certificate of service regarding fee
application of R. Dees.

Review emails regarding special counsel interim
fee application.

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F (Part 6) Page 65 of 71

Page441

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Review, revise statement of no objection, and
related emails with Attorney Dees; final review
of fee application.

Begin draft of MODL first interim fee
application; review of time entries.

Revise fee materials, review open TFR issues.
Further revisions to fee materials.

Review Pacer docket; prepare outline for
categories and begin narratives for MODL fee
application.

Track order allowing special counsel fee
application; update control sheet.

Revise fee materials.

Preliminary review of information/time entries
in connection with interim fee application for
claims.

Obtain worksheet in preparation for interim fee
application in connection with claims and
review same.

Revise fee materials.

Revise fee materials, review open case, TFR
issues.

Revise fee materials, open TFR issues.

Revise fee materials and open issues, timing
regarding interim fee application.

Devise interim fee application strategies and
review related fee materials.

Revise fee materials.

Revise fee materials and review open case
issues.

Devise strategies, categories for first interim
fee application (.2), review fee materials
(.3).

Discuss format and timing of MODL first interim
fee application with trustee.

Review new UST guidelines for interim fee
applications and emails with Attorney King
regarding impact on Direct Air.

Continue to review time entries and draft of
narratives for MODL 1st interim fee
application.

Revise fee materials, review issues for interim
fee application. ,

Continue review of time entries/draft

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F (Part 6) Page 66 of 71

Page442

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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narratives for MODL 1st interim fee
application.

Continued revision of fee materials, strategies
for interim fee application. .
Continue review of time entries, pacer docket
and draft narratives for MODL 1st interim fee
application.

Continued review of time entries and
preparation of narratives for MODL first
interim fee application.

Review materials, strategies regarding lst
interim fee app.

Discuss MODL interim fee application with
trustee.

Continued review of time entries and
preparation of narratives for MODL ist interim
fee application.

Continued review of time entries/pacer dockets
and draft narratives.

Continue to review time entries/pacer docket;
continue draft of narratives for MODL 1st
interim fee application.

Continue review of time entries/draft
narratives.

Continued review of time entries and draft
narratives.

Review and revise categories, time entries for
first interim fee application.

Continued review of time entries and draft
narratives for MODL 1st Interim Fee
Application.

Continue to review time entries/draft
narratives.

Continue review of time entries and draft
narratives.

Revise fee materials in preparation for interim
fee application.

Continued review of time entries and draft
narratives.

Assist with narratives about Warneck, Torbert,
and Avondale claims. (.2); assist with
narratives about W-2s and tax claims (.1).
Continue time entry/pacer review and prepare
narratives for MODL 1st interim fee

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F (Part 6) Page 67 of 71

Page443

Invoice Number ****x**

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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application,

Work on fee application materials.

Continue review of time entries/pacer docket
and draft narratives.

Continue review of time entries and draft
narratives.

Assist with narratives.

Electronic mail to accountant to request
interim fee application.

Continue review of time entries/draft
narratives.

Assist with narratives for MODL Fee
Application.

Call with Mr. Jalbert regarding fee application
issues,

Assist with narratives.

Continue review of time entries and draft
narratives.

Assist with explanation of work and results
obtained for the Estate for fee application.
Continue fee application preparation.
Continued preparation and review of MODL first
interim fee application.

Continued fee application review/revisions.
Assist with preparation of adversary
proceedings section of fee application.
Continue preparation of MODL fee application.
Assist with narratives regarding preference
investigations.

Review revised materials, review open fee
application issues.

Continue revisions to fee materials for first
interim fee application.

Telephone call from Penny Bley at Verdolino &
Lowey regarding request for information
regarding total amount of preference
settlements/complaints filed in connection with
preparation of accountant fee application;
strategy regarding compilation of relevant
information.

Continue MODL interim fee application.
Continue MODL 1st interim fee application.
Attention to creation of preference results
chart for use with MODL and/or Verdolino &

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Joseph H. Baldiga,

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F (Part 6) Page 68 of 71

Page444

Invoice Number *****x*

Chapter 7 Trustee

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Lowey fee applications.

Continued work on fee app materials.

Continued work on fee application categories
and issues.

Continue preparation of MODL 1st interim fee
application.

Continue fee application review and revisions.
Continued MODL 1st Interim Fee Application
narratives.

Continue work on fee materials.

Continue MODL 1st Interim Fee Application/time
entry review/narratives.

Assist with narratives regarding investigation.
Emails with Ms. Bley regarding issues and
support for VLPC fee application.

Continued revisions to fee materials for first
interim fee app (.4); related emails with
litigation team regarding recoveries, timing
(.2).

Continue MODL 1st Interim Fee Application;
review time entries, draft narratives.

Review memoranda regarding fee application
status and settlement issues (.1); follow up
regarding same (.1).

Continued revisions to interim fee application
materials.

MODL first interim fee application.

Continued revisions to fee materials.

Update task code narratives based on updated
time entries.

Complete review of updated time entries and
revisions to draft narratives.

Revise fee application to include case specific
provisions regarding recoveries, possible
distributions and available funds; review same.
Continued revisions, attention regarding fee
application.

Revisions to MODL fee application regarding
funds available for distribution and
review/revise (x2) separate exhibit to fee
application regarding same.

Assist with narratives about litigation status.
Continued attention to fee app. revisions and
issues, strategies regarding funds schedule.

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877.

1,462.

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

F (Part 6) Page 69 of 71

Page445

Invoice Number

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

10/21/14 kmdellec 9311

10/22/14
10/23/14
10/26/14
10/29/14

10/30/14

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TYPE

9311

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Review correspondence from trustee to
accountant regarding accountant’s proposed fee
application; strategy regarding MODL and
accountant fee applications.

Continue work on fee narratives.

Continued revisions regarding fee application.
Continue work on narratives for first interim
fee application.

Revisions to fee application narratives, review
underlying case, litigation materials.
Continue revisions to fee application, sources
and uses of cash analysis.

TOTAL

TASK: 9320 Fee/Employment Objections

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O’Neil

TYPE 9320-

Time Detail

11/10/13

11/11/13 goneil

10/21/14

JHB

JHB

TYPE

TOTAL

9320

9320

9320

9320

Hours Value Rate
1.00 394.00 394.00
0.10 25.50 255.00
1.10 419.50

Review fee application, and emails with
Attorney Dees regarding same.

Review multiple emails about Special Counsel
fee application logistics.

Review VLPC interim fee application draft,
related emails with Mr. Jalbert, Ms. Bley.

TOTAL

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KKKKRK |
0.30 58.50
0.80 316.00
0.40 158.00
0.30 118.50
3.10 1,224.50

0.60 237.
170.40 36,972.50
Hours Value
0.20 78.00
0.10 25.50
0.80 316.00
1.10 419.50
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F (Part 6) Page 70 of 71
MIRICK, O’ CONNELL Page446

Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

Attorney

No. Init. Name Position Hours Rate Value
o11 JOM Mirick, John Oo, PARTNER 0.60 395.00 237.00
011 JOM Mirick, John oO. PARTNER 11.20 400.00 4,480.00
011 JOM Mirick, John oO, PARTNER 11.50 405.00 4,657.50
070 LAK Keeler, Laura A. PARALEGAL 15.00 185.00 2,775.00
070 LAK Keeler, Laura A. PARALEGAL 3.40 190.00 646.00
139 JHB Baldiga, Joseph H. PARTNER 130.80 380.00 49,704.00
139 JHB Baldiga, Joseph H. PARTNER 264.50 385.00 101,832.50
139 JHB Baldiga, Joseph H. PARTNER 290.50 390.00 113,295.00
139 JHB Baldiga, Joseph H. PARTNER 105.50 395.00 41,672.50
142 JES Swaim, Jeffrey E. PARTNER 1.00 370.00 370.00
152 PWC Carey, Paul W. PARTNER 4.00 360.00 1,440.00
152 PWC Carey, Paul W. PARTNER 5.30 375.00 1,987.50
162 RBG Gibbons, Robert B. PARTNER 0.70 360.00 252.00
162 RBG Gibbons, Robert B. PARTNER 11.80 375.00 4,425.00
162 RBG Gibbons, Robert B. PARTNER 2.20 — 385.00 847.00
166 CED Devine, Christine E. PARTNER 1.00 360.00 360.00
166 CED Devine, Christine E. PARTNER 0.30 370.00 111.00
166 CED Devine, Christine E, PARTNER 0.30 375.00 112.50
166 CED Devine, Christine E. PARTNER 0.20 385.00 77.00
231 KCPICKER Pickering, Kenneth Cc. PARTNER 6.90 335.00 2,311.50
231 KCPICKER Pickering, Kenneth C. PARTNER 0.20 345.00 : 69.00
231 KCPICKER Pickering, Kenneth C. PARTNER 0.30 ° 355.00 106.50
255 chorourk O'Rourke, Cori B. PARALEGAL 1.90 185.00 351.50
255 cbhorourk O/Rourke, Cori B. PARALEGAL 101.10 190.00 19,209.00
255 chorourk O/’Rourke, Cori B. PARALEGAL 3.20 195.00 624.00
274 kmdellec DelleChiaie, Kimberly MPARALEGAL 466.30 180.00 83,934.00
274 kmdellec DelleChiaie, Kimberly MPARALEGAL 423.40 185.00 78,329.00
274 kmdellec DelleChiaie, Kimberly MPARALEGAL 188.90 195.00 36,835.50
281 jemurphy Murphy, Jessica E. ASSOCIATE 59.10 245.00 14,479.50
281 jemurphy Murphy, Jessica E. ASSOCIATE 765.00 255.00 195,075.00
281 jemurphy Murphy, Jessica E. ASSOCIATE 123.60 265.00 32,754.00
290 goneil O'Neil, Gina B. ASSOCIATE 123.10 240.00 29,544.00
290 goneil O'Neil, Gina B. ASSOCIATE 266.20 245.00 65,219.00
290 goneil O'Neil, Gina B. ASSOCIATE 523.90 255.00 133,594.50
290 goneil O'Neil, Gina B. ASSOCIATE 94.90 265.00 25,148.50
304 mrfisher Fisher, Matthew R. ASSOCIATE 6.90 210.00 1,449.00
304 mrfisher Fisher, Matthew R. ASSOCIATE 0.30 220.00 66.00
304 mrfisher Fisher, Matthew R. ASSOCIATE 0.10 230.00 23.00
315 jjport Port, Jason J. ASSOCIATE 0.40 230.00 92.00

325 kfoley Foley, Kate - ASSOCIATE 11.30 190.00 2,147.00
MIRICK, O’ CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)
325 kfoley Foley, Kate ASSOCIATE
325 kfoley Foley, Kate ASSOCIATE
325 kfoley Foley, Kate ASSOCIATE
337 abaer Baer, Amanda M. ASSOCIATE
340 ihohmeis Hohmeister, Ian C. ASSOCIATE
343 beasacel Casaceli, Brian M. ASSOCIATE
349 AUF Falke, Allen J. OF COUNSEL

Case 12-40944 Doc 626-7 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

F (Part 6)

Page 71 of 71

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Page447
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